Exhibit A
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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

THE NEW GEORGIA PROJECT, et al., *
                                          *
             Plaintiffs,                  *
                                          *
       v.                                 *       1:20-CV-01986-ELR
                                          *
BRAD RAFFENSPERGER, in his                *
official capacity as the Georgia Secretary*
of State and the Chair of the Georgia     *
State Election Board, et al.,             *
                                          *
             Defendants.                  *
                                          *
                                    _________

                                   ORDER
                                   _________

      Presently before the Court is Plaintiffs’ Motion for Preliminary Injunction.

[Doc. 57]. For the reasons below, the Court grants in part and denies in part

Plaintiffs’ motion.

I.    Background

      This case concerns Plaintiffs The New Georgia Project, Reagan Jennings,

Candace Woodall, and Beverly Pyne’s challenge to five (5) aspects of Georgia’s

absentee voting system (hereinafter “the Challenged Policies”).      Am. Compl.

[Doc. 33]. Plaintiffs bring these challenges in light of the dangers presented by
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COVID-19 in relation to the upcoming November 2020 general election. Id. The

Challenged Polices are:

               1. O.C.G.A. § 21-2-381(b)(4) (labeled by Plaintiffs as “the
                  Notification Process”) — This statute governs Georgia’s
                  notification process to voters when the relevant election official
                  is unable to determine the identity of the elector from the
                  information given on an absentee ballot application. O.C.G.A.
                  § 21-2-381(b)(4). Specifically, the statute states: “[i]f the
                  registrar or clerk is unable to determine the identity of the elector
                  from information given on the application, the registrar or clerk
                  should promptly write [to the elector] to request additional
                  information.” Id. Plaintiffs claim that the term “promptly” fails
                  to provide a uniform standard to govern the process for notifying
                  voters about any “errors” in their ballot applications.
               2. O.C.G.A. § 21-2-381(a)(1)(G) (labeled by Plaintiffs as
                  “Absentee Age Restriction”) — This statute allows electors
                  sixty-five (65) years of age or older, voters with disabilities, and
                  Uniformed Overseas Citizens Absentee Voting Act voters to
                  submit one application absentee ballot application for an entire
                  election cycle. O.C.G.A. § 21-2-381(a)(1)(G). 1 All other voters
                  must submit a separate, distinct absentee application for each
1
    The full text reads:

          Any elector meeting criteria of advanced age or disability specified by rule or
          regulation of the State Election Board or any elector who is entitled to vote by
          absentee ballot under the federal Uniformed and Overseas Citizens Absentee
          Voting Act, 42 U.S.C. Section 1973ff, et seq., as amended, may request in writing
          on one application a ballot for a presidential preference primary held pursuant to
          Article 5 of this chapter and for a primary as well as for any runoffs resulting
          therefrom and for the election for which such primary shall nominate candidates as
          well as any runoffs resulting therefrom. If not so requested by such person, a
          separate and distinct application shall be required for each primary, run-off primary,
          election, and run-off election. Except as otherwise provided in this subparagraph,
          a separate and distinct application for an absentee ballot shall always be required
          for any special election or special primary.

O.C.G.A. § 21-2-381(a)(1)(G). According to the Official Compilation of Rules and Regulations
of the State of Georgia, “[f]or purposes of applying O.C.G.A. § 21-2-381(a)(1)(G), ‘advanced age’
shall mean any elector who is 65 years of age or older at the time of the absentee ballot request.”
Ga. Comp. R. & Regs. 183-1-14-.01(1).

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                  election (primary, general, etc.). Id. Plaintiffs claim that this
                  statute discriminates against younger voters by creating an
                  unconstitutional age restriction on those who may submit a
                  single application to vote by mail for an entire election cycle.
               3. “Absentee Postage Tax” — There is no portion of the Georgia
                  Code that addresses who must pay for postage for absentee
                  ballot applications and absentee ballots being cast through the
                  mail. Plaintiffs claim that Georgia’s failure to provide pre-paid
                  postage for the return mailing of absentee ballots is an
                  unconstitutional poll tax that severely burdens the right to vote
                  in light of the dangers posed by COVID-19.
               4. O.C.G.A. § 21-2-386(a)(1)(F) (labeled by Plaintiffs as “Receipt
                  Deadline”) — This statute requires that absentee ballots must be
                  delivered to a county election official by 7:00 p.m. on Election
                  Day. O.C.G.A. § 21-2-386(a)(1)(F). 2 Plaintiffs claim that this
                  receipt deadline will disenfranchise voters whose absentee
                  ballots arrive after that time through “no fault of their own.”
               5. O.C.G.A. § 21-2-385(a) (labeled by Plaintiffs as “Voter
                  Assistance Ban”) — This statute prohibits third-party assistance
                  in mailing or delivering completed absentee ballots, subject to




2
    The relevant portion of the statute states:

          All absentee ballots returned to the board or absentee ballot clerk after the closing
          of the polls on the day of the primary or election shall be safely kept unopened by
          the board or absentee ballot clerk and then transferred to the appropriate clerk for
          storage for the period of time required for the preservation of ballots used at the
          primary or election and shall then, without being opened, be destroyed in like
          manner as the used ballots of the primary or election. The board of registrars or
          absentee ballot clerk shall promptly notify the elector by first-class mail that the
          elector’s ballot was returned too late to be counted and that the elector will not
          receive credit for voting in the primary or election.

O.C.G.A. § 21-2-386(a)(1)(F).

                                                   3
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                   certain defined exceptions. O.C.G.A. § 21-2-385(a).3 Plaintiffs
                   claim that this statute “significantly raises the risk that lawful,
                   eligible voters will be disenfranchised,” eliminates critical
                   assistance to voters who are homebound, and “hamstrings the
                   ability of organizations like The New Georgia Project to assist
                   voters in making the transition to absentee voting.”

See generally Am. Compl. at 10–14. In sum, Plaintiffs allege that in the context of

the public health emergency caused by COVID-19, the Challenged Policies will

unconstitutionally burden and disenfranchise thousands of voters in the upcoming

November 2020 election. See generally id.

          In accordance with these allegations, Plaintiffs seek declaratory and injunctive

relief. [Doc. 57]. Specifically, Plaintiffs request the Court to: (a) issue a declaratory

judgment that the Challenged Policies are unconstitutional, and (b) preliminarily

enjoin Defendants 4 from implementing and enforcing the Challenged Policies.

[Doc. 57-1 at 2]. Additionally, Plaintiffs ask the Court to:


3
    The relevant portion of the statute states:

          [M]ailing or delivery [of an absentee ballot] may be made by the elector’s mother,
          father, grandparent, aunt, uncle, brother, sister, spouse, son, daughter, niece,
          nephew, grandchild, son-in-law, daughter-in-law, mother-in-law, father-in-law,
          brother-in-law, sister-in-law, or an individual residing in the household of such
          elector. The absentee ballot of a disabled elector may be mailed or delivered by the
          caregiver of such disabled elector, regardless of whether such caregiver resides in
          such disabled elector’s household. The absentee ballot of an elector who is in
          custody in a jail or other detention facility may be mailed or delivered by any
          employee of such jail or facility having custody of such elector.

O.C.G.A. § 21-2-385(a).
4
  There are eighty-three (83) Defendants in this case, including various state election officials and
members of seventeen (17) county boards of elections. See Am. Compl. For ease of reference,
the Court refers to Defendants collectively, unless otherwise noted.

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   • order Defendants to “notify all voters of absentee application deficiencies

       within three (3) days of receiving the application, or by the next business day

       for applications received during the eleven (11) days before the election;”

   • “permit voters of all ages to submit a single absentee ballot application per

       election cycle to vote by mail ballot in any election during that cycle;”

   • “provide voters with prepaid postage on all absentee ballots;”

   • “accept and count otherwise valid absentee ballots from qualified voters that

       are postmarked by Election Day and arrive at their respective county’s office

       within, at a minimum, five (5) business days after Election Day;” and

   • “allow voters to designate any third party to assist in the collection and

       submission of their absentee ballots.”

[Id. at 2–4].

       The Court first provides an overview of Georgia’s absentee ballot system and

other relevant context before addressing the substance of Plaintiffs’ motion.

       A.       Georgia’s Absentee Ballot System

       In Georgia, the law permits a registered voter to vote via absentee ballot.

See O.C.G.A. § 21-2-380. To do so, a voter must submit an application with

sufficient identifying information—i.e., name, date of birth, phone number, and

registration address—“either by mail, by facsimile transmission, by electronic

transmission, or in person in the registrar’s or absentee ballot clerk’s office[.]”

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O.C.G.A. § 21-2-381(a)(1)(A). Georgia law does not require a voter to provide a

justifying reason to cast an absentee ballot. O.C.G.A. § 21-2-380. Additionally,

voters of “advanced age” (sixty-five (65) or older at the time of the request), voters

with disabilities, and citizens who are overseas may submit one (1) comprehensive

application for an entire election cycle, including the presidential preference

primary, primary, and resulting runoffs or general elections. O.C.G.A. § 21-2-

381(a)(1)(G). All other voters may not make a single request, but instead must

submit separate, distinct applications for each election (i.e. primary, general, runoff).

Id.

       Upon receipt of a timely application for an absentee ballot, the electoral

official must determine if the applicant is eligible to vote in the relevant primary or

election. O.C.G.A. § 21-2-381(b)(1). If the official is unable to determine the

identity the voter, the official must “promptly write [to the voter] to request

additional information.” O.C.G.A. § 21-2-381(b)(4). However, “promptly” is not

defined by the statute. Id.

       If the voter is determined to be eligible, then the relevant election official must

provide the voter with an absentee ballot. O.C.G.A. § 21-2-381(b)(2). Specifically,

the official:

       shall mail or issue official absentee ballots to all eligible applicants not
       more than 49 days but not less than 45 days prior to any presidential
       preference primary, general primary other than a municipal general
       primary, general election other than a municipal general election, or

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       special primary or special election in which there is a candidate for a
       federal office on the ballot.

O.C.G.A. § 21-2-384(a)(2).

       Registered absentee voters are supposed to receive three (3) items by mail:

(1) the ballot, (2) a small “secrecy” envelope in which to place the ballot, and (3) a

larger envelope for mailing the envelope containing the ballot. O.C.G.A. §§ 21-2-

384(b); 21-2-385(a). Voters must indicate their vote on the provided ballot, place

the ballot inside the “secrecy” envelope, place the “secrecy” envelope inside the

larger envelope, and then “fill out, subscribe and swear to the oath printed on” the

back of the larger envelope.5 O.C.G.A. § 21-2-385(a). Once the larger mailing

envelope is securely sealed and signed, “the elector shall then personally mail or

personally deliver [the] same to the board of registrars or absentee ballot clerk[.]”

Id. Georgia does not provide pre-paid postage for the return of the absentee ballot,

and thus, voters must pay for their own return postage to vote by mail. 6

       The State of Georgia does not count mail ballots received after the closing of

polls at 7:00 p.m. on Election Day. See O.C.G.A. § 21-2-386(a)(1)(F). This is true

even if a ballot arrives late for reasons outside the voter’s control, and even if the


5
  According to Plaintiffs’ expert, Dr. Kenneth R. Mayer, the ballot design was changed for the
2020 primary election to eliminate the secrecy envelope. [Doc. 59-1 at 10]. Instead, the 2020
primary ballot included a “privacy sleeve,” a change that was made to “allow faster processing of
returned ballots by election officials.” [Id.]
6
  O.C.G.A. § 21-2-389 provides that the postage for sending the ballot to absentee voters “shall be
paid by the county or municipality,” but no other portion of the Georgia Code addresses the
payment for postage for absentee ballots and absentee ballot applications.

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ballot was postmarked before or on Election Day. Id. Thus, as it now stands, for a

mail-in ballot to be accepted and deemed valid for this year’s November election,

the respective county registrar must receive it no later than Tuesday, November 3,

2020, at 7:00 p.m. Id.

      Finally, Georgia law prohibits third parties from assisting with the return of a

signed, sealed absentee ballot unless the third party is the “elector’s mother, father,

grandparent, aunt, uncle, brother, sister, spouse, son, daughter, niece, nephew,

grandchild, son-in-law, daughter-in-law, mother-in-law, father-in-law, brother-in-

law, sister-in-law, or an individual residing in the household of such elector.”

O.C.G.A. § 21-2-385(a). Or, if the voter has a disability that qualifies her for an

absentee ballot, then her absentee ballot may be mailed or delivered by her caregiver,

“regardless of whether such caregiver resides in such disabled elector’s household.”

Id.

      B.     The COVID-19 Pandemic

      As all are no doubt aware, the ongoing global pandemic caused by COVID-19

has triggered mass social disruption. In the United States alone, there have been

over 5.7 million documented cases and Georgia remains a national “hotspot.”7

Specifically, in Georgia, there have been over 260,000 confirmed cases of the virus



7
  Cases in the U.S., CENTERS FOR DISEASE CONTROL, https://www.cdc.gov/coronavirus/2019-
ncov/cases-updates/cases-in-us.html (last visited Aug. 27, 2020).

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with over 5,000 deaths. 8 In response to the pandemic, Governor Brian Kemp issued

several executive orders regarding public safety.            Specifically, the Governor

declared a public health state of emergency for the State of Georgia due to the spread

of COVID-19, effective March 14, 2020, and subsequently extended it through and

until September 10, 2020. See 2020 Executive Orders, OFFICE OF THE GOVERNOR,

https://gov.georgia.gov/executive-action/executive-orders/2020-executive-orders

(last visited Aug. 24, 2020). Additionally, Governor Kemp ordered “all residents

and visitors in the State of Georgia” to practice social distancing and sanitation in

accordance with the guidelines published by the Centers for Disease Control and

Prevention and also encouraged residents and visitors to wear masks in public to

prevent the spread of COVID-19. Id. These restrictions were imposed to mitigate

the spread of the virus.

       Similarly, Defendant Secretary of State Brad Raffensperger—in accordance

with his duty to oversee Georgia’s elections—has taken several measures to adjust

the voting process due to the circumstances caused by COVID-19. Am. Compl. at

8, 43; [Docs. 59-31, 59-32]. Such measures included the postponement of the

Georgia primary to June 9, 2020,9 encouraging voting by mail, and sending absentee



8
  COVID-19 Daily Status Report, GA. DEP’T OF PUB. HEALTH, https://dph.georgia.gov/COVID-
19-daily-status-report (last visited Aug. 27, 2020).
9
  Raffensperger Announces Postponement of Primary Election Until June 9, GA. SEC’Y OF STATE,
https://sos.ga.gov/index.php/elections/raffensperger_announces_postponement_of_primary_elect
ion_until_june_9 (last visited Aug. 24, 2020); [Docs. 59-31, 59-34].

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ballot applications to approximately 6.9 million active voters.10 [Docs. 58 at 3;

59-31; 59-32; 59-33].

       Due to the circumstances presented by the COVID-19 pandemic and the

State’s responsive measures, Georgia voters have utilized absentee voting in record

numbers during recent elections. [Doc. 59-34]. For example, during the June 2020

primary, over 1.9 million absentee ballots were issued to voters, and approximately

1.1 million absentee ballots were recorded as cast. [Doc. 59-1 at 3, 9]. By

comparison, in 2018, approximately 227,000 absentee ballots were returned to

registrar’s offices. [Id. at 17]. The significant increase in absentee voting has led to

well-documented strains on Georgia’s election administration infrastructure,

including delays in processing absentee ballot applications and delivering absentee

ballots. [See, e.g., Docs. 59-34, 59-38, 59-39, 59-40, 59-41, 59-43, 59-45].

       C.     Impact on Plaintiffs

       Plaintiff The New Georgia Project (“NGP”) is an non-partisan organization

“dedicated to registering Georgians to vote and to helping them become more

civically engaged citizens.” Am. Compl. at 16. To that end, “NGP engages in voter

education and registration activities in churches, college campuses, and

neighborhoods across the state to reach voters and help them to register and,



10
   In addition, the State Election Board extended the emergency measure authorizing counties to
utilize secured absentee ballot drop boxes for the November 2020 election. [Doc. 90 at 19].

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eventually, vote.” Id. According to the Amended Complaint, “NGP’s goal is to

register all eligible, unregistered citizens of color in Georgia, and as of September

2019, NGP had registered almost half a million Georgians in all 159 of Georgia’s

counties[.]” Id.

       Plaintiffs Reagan Jennings, Candace Woodall, and Beverly Pyne (hereinafter

“the Individual Voter Plaintiffs”) are registered Georgia voters who plan on voting

absentee in the November 2020 general election. 11 Id. at 19–23; [Docs. 59-4, 59-5,

59-6]. In the Amended Complaint, the Individual Voter Plaintiffs all claim that

various aspects of the Challenged Policies either disenfranchise or unduly burden

their right to vote. Am. Compl. at 19–23.

       For example, Plaintiff Reagan Jennings, a Fulton County voter, is seventy-two

(72) years old, lives alone, and suffers from “conditions that place her at high risk

for complications from COVID-19.” Id. at 20; [see also Doc. 59-4 at 2]. Although

she regularly votes in person, due to the ongoing pandemic, Ms. Jennings applied to

vote absentee, and plans to do so for the November election. [Doc. 59-4 at 2]. Given

her health conditions and the absence of nearby relatives, Ms. Jennings claims she

“would benefit from assistance with turning her ballot in to the election office.”

Am. Compl. at 21. Moreover, Ms. Jennings does not regularly keep stamps in her



11
  Additionally, Plaintiffs submitted one hundred and fifteen (115) declarations from Georgia
voters to support their Motion for Preliminary Injunction. [See Docs. 59, 105, 106, 107].

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home, is unsure how much postage to apply for her absentee ballot, and does not

have a postage scale. Id. at 20. Since the onset of COVID-19’s spread across

Georgia, Ms. Jennings has attempted to purchase stamps, but was unable to do so

due to long lines and lack of social distancing. Id. She claims the entire process is

“confusing” and “and would be easier to manage if Georgia counted ballots that are

postmarked on Election Day.” [Doc. 59-4 at 3, 4].

      Next, Plaintiff Candace Woodall, a voter in Atlanta, claims that the

Challenged Policies burden her right to vote. Am. Compl. at 21. Ms. Woodall is

almost sixty (60) years old, lives in a senior facility, is unemployed due to the

pandemic, and is currently recovering from an operation related to cancer. Id. Due

to her restricted budget, Ms. Woodall states that purchasing a book of stamps would

be a financial hardship. [Doc. 59-5 ¶ 6]. In her declaration, she further states that

“[i]f Georgia counted ballots that are postmarked by Election Day and allowed third

parties such as The New Georgia Project to collect my ballot and assist me in making

sure that I had prepared the ballot and envelope correctly, the voting process would

be much less burdensome for me to accomplish.” [Id. ¶ 8]. Additionally, due to her

age, Ms. Woodall may not submit one comprehensive absentee application for each

election cycle. Am. Compl. at 22. Instead, she must submit a separate application

for each election, which she claims is a burden. Id.




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      Finally, Plaintiff Beverly Pyne is a sixty (60)-year-old nurse temporarily

residing in Fort Lauderdale, Florida, for school. Id. at 23. She is registered to vote

in Georgia and considers Georgia her home. Id. However, she claims Georgia’s

absentee voter system disenfranchised her in 2018. Id. Specifically, the Amended

Complaint alleges:

      [d]espite requesting her ballot well in advance of the election and
      subsequently checking with election officials about the status of her
      ballot, Ms. Pyne’s ballot did not arrive at her home in Florida until the
      day before Election Day. Ms. Pyne’s Florida home is a 9.5-hour drive
      from Gwinnett County. Consequently, she could not turn the ballot in
      in person or otherwise cast her vote in-person. Therefore, Ms. Pyne
      was forced to place her ballot in the mail the day before Election Day
      in the hopes that it would somehow arrive on time. Ms. Pyne will also
      need to vote by absentee this year both because she is still temporarily
      living in Florida, and also because of concerns about exposing herself
      and others to COVID-19.

Id. at 23. Moreover, in her supplemental declaration, Ms. Pyne states that although

she applied for an absentee ballot for the June 2020 Primary Election, she never

received her ballot. [Doc. 105-3 ¶ 3]. After the June Primary occurred, she later

received a notice explaining that her ballot application had been rejected because she

did not select a political party on the application. [Id. ¶ 4].

      D.      Procedural History

      On June 3, 2020, Plaintiffs filed their Amended Complaint in this action.

Am. Compl. In their Amended Complaint, Plaintiffs bring seven (7) counts against

Defendants:


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     • Count I—Undue Burden on the Right to Vote, in violation of the First

         Amendment and Equal Protection Clause of the Fourteenth Amendment;

     • Count II—Denial or Abridgment of the Right to Vote on Account of Age, in

         violation of the Twenty-Sixth Amendment;

     • Count III—Poll Tax, in violation of the Fourteenth and Twenty-Fourth

         Amendments;

     • Count IV—Denial of Procedural Due Process, in violation of the Due Process

         Clause of the Fourteenth Amendment;

     • Count V—Arbitrary and Disparate Treatment, in violation of the Equal

         Protection Clause of the Fourteenth Amendment;

     •   Count VI—Infringement on Speech and Associational Rights, in violation of

         the First and Fourteenth Amendments; and

     • Count VII—Violation of Section 208 of the Voting Rights Act of 1965.

Id. at 56–78.

         On June 10, 2020, Plaintiffs filed the instant Motion for Preliminary

Injunction, seeking to enjoin the Challenged Policies.12 [Doc. 57]. Having been




12
   Additionally, the County Defendants and the State Defendants have filed separate motions to
dismiss. [Docs. 82, 83]. The Court will not reach Defendants’ motions at this time and will instead
issue a subsequent order addressing their arguments. But see n.16, infra.

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fully briefed, and with the benefit of oral argument,13 Plaintiffs’ motion is ripe for

the Court’s review.

II.    Preliminary Matter: Standing

       Before turning to the merits of Plaintiffs’ motion, the Court first address the

threshold issue presented by Defendants—namely, their allegation that Plaintiffs

lack standing to seek a preliminary injunction regarding their claims. [See Docs. 82,

83, 91].

       Article III of the Constitution permits federal courts to adjudicate only “actual

cases and controversies.” U.S. CONST. art. III, § 2. “In essence the question of

standing is whether the litigant is entitled to have the court decide the merits of the

dispute or of particular issues.” Warth v. Seldin, 422 U.S. 490, 498 (1975). To

establish Article III standing:

       the party invoking the power of the court must show (1) injury in fact,
       which is an invasion of a legally protected interest which is (a) concrete
       and particularized, and (b) actual or imminent, not conjectural or
       hypothetical; (2) a causal connection between the injury and the
       conduct complained of; and (3) that the injury is likely to be redressed
       by a favorable decision.

Cochran v. City of Atlanta, 150 F. Supp. 3d 1305, 1315 (N.D. Ga. 2015) (citing

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)) (internal marks

omitted).


13
  The undersigned held oral argument regarding Plaintiffs’ motion on August 19, 2020, via Zoom.
[Doc. 121].

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       Additionally, “[o]rganizations, like individuals, can establish standing to sue.”

Fair Fight Action, Inc. v. Raffensperger, 413 F. Supp. 3d 1251, 1266 (N.D. Ga.

2019).

       In election law cases, an organization can establish standing by showing
       that it will need to divert resources from general voting initiatives or
       other missions of the organization to address the impacts of election
       laws or policies. Organizations do not necessarily have to show that
       they have already diverted resources. Reasonably anticipating the
       organization will need to divert resources in the future suffices to
       establish standing, particularly at the earliest stage of a case.

Id.
       Here, Defendants argue that Plaintiffs lack Article III standing for various

reasons.14 [See Docs. 82, 83, 91]. The Court will address the arguments regarding

the Individual Voter Plaintiffs and Plaintiff NGP separately, beginning with the

former.

       A.      Standing for Individual Voter Plaintiffs

       First, Defendants claim the Individual Voter Plaintiffs lack standing because

they do not adequately allege injury-in-fact, traceability (causation), or

redressability. [See Docs. 82-1 at 4–12, 83-1 at 4–6]. With regards to injury,

Defendants argue that Plaintiffs’ injuries are hypothetical and speculative.

[Docs. 82-1 at 7–9; 83-1 at 4–5].              Additionally, the seventeen (17) County

14
   In their response to Plaintiffs’ Motion for Preliminary Injunction, Defendants request that this
Court address the standing arguments presented in their motions to dismiss [Docs. 82, 83] before
addressing the merits of Plaintiffs’ motion. [Docs. 90, 91]. The Court grants Defendants’ request
to address their arguments with regards to standing and will address the other arguments from
Defendants’ motions to dismiss in a subsequent order. See n.14, supra.

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Defendants argue that Plaintiffs have not adequately alleged traceability and

redressability because they failed to sue all one hundred and fifty-nine (159) counties

in Georgia. [Doc. 82-1 at 10]. Finally, Defendants argue that because all the alleged

harms are not directly caused by the Secretary of State’s office, but by the respective

county boards of elections or even COVID-19, Plaintiffs have failed to establish

redressability. [Doc. 82-1 at 11].

      Upon review, the Court finds Defendants’ arguments unavailing.              First,

regarding injury, the Court disposes of Defendants’ arguments that the alleged

injuries are speculative and hypothetical. As set out in the Amended Complaint, the

number of confirmed COVID-19 cases in Georgia has grown exponentially, and the

Individual Voter Plaintiffs have alleged facts showing they are disadvantaged and

burdened by the Challenged Policies. See Burdick v. Takushi, 504 U.S. 428, 433

(1992) (“Each provision of a[n election] code, ‘whether it governs the registration

and qualifications of voters, the selection and eligibility of candidates, or the voting

process itself, inevitably affects — at least to some degree — the individual’s right

to vote and his right to associate with others for political ends.’”) (quoting Anderson

v. Celebrezze, 460 U.S. 780, 788 (1983)); Baker v. Carr, 369 U.S. 186, 206 (1962)

(“[V]oters who allege facts showing disadvantage to themselves as individuals have

standing to sue.”).




                                          17
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      Furthermore, in voting rights cases, “[a] plaintiff need not have the franchise

wholly denied to suffer injury. Any concrete, particularized, non-hypothetical injury

to a legally protected interest is sufficient.” Charles H. Wesley Educ. Found., Inc.

v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005); see also Common Cause/Georgia v.

Billups, 554 F.3d 1340, 1352 (11th Cir. 2009) (“The inability of a voter to pay a poll

tax, for example, is not required to challenge a statute that imposes a tax on voting,

and the lack of an acceptable photo identification is not necessary to challenge a

statute that requires photo identification to vote in person.”); People First of

Alabama v. Merrill, No. 2:20-CV-00619-AKK, 2020 WL 3207824, at *6 (N.D. Ala.

June 15, 2020) (“Simply put, a voter always has standing to challenge a statute that

places a requirement on the exercise of his or her right to vote.”).

      In fact, the Supreme Court has “long recognized that a person’s right to vote

is ‘individual and personal in nature.’” Gill v. Whitford, 138 S. Ct. 1916, 1929

(2018) (quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)). “Thus, ‘voters who

allege facts showing disadvantage to themselves as individuals have standing to sue’

to remedy that disadvantage.” Id. Moreover, the Eleventh Circuit recently held that

while “voters have no judicially enforceable interest in the outcome of an election,”

they do “have an interest in their ability to vote and in their vote being given the

same weight as any other.” Jacobson v. Fla. Sec’y of State, 957 F.3d 1193, 1202

(11th Cir. 2020) (emphasis in original) (internal citations omitted). Here, the


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Individual Voter Plaintiffs have alleged facts showing disadvantage to themselves

regarding each of the Challenged Policies. See supra I.C; Am. Compl. at 20–22.

Thus, the injury prong is satisfied.

         Next, Defendants argue that because all the alleged harms are not directly

caused by the Secretary of State’s office, the Individual Voter Plaintiffs fail to

properly allege traceability and redressability. [Docs. 82-1 at 10–13; 83-1 at 4]. The

Court finds this argument misguided. Pursuant to Georgia law, the Secretary of State

is the chief election official for the State. O.C.G.A. § 21-2-50(b). As the chief

election official, the Secretary has the power and authority to manage Georgia’s

election system, including the absentee voting system. Id. The Secretary exercised

that authority, for example, right before the June 9, 2020 primary when he chose to

send absentee ballot applications to all active registered voters. [See Doc. 59-33

at 2].

         Additionally, the Secretary is the Chair of the State Election Board, whose

members are also Defendants in this case. See Am. Compl. The State Election

Board is the governmental body responsible for uniform election practice in Georgia.

O.C.G.A. § 21-2-31. Both the Sectary and the State Election Board have significant




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statutory authority to train local election officials and set election standards.15

See id.; O.C.G.A. § 21-2-50(b). Thus, these Defendants have the ability to fully

redress Plaintiffs’ injuries statewide. 16 Accordingly, the Individual Voter Plaintiffs

have standing.

       B.      Standing for the Organizational Plaintiff

       Because the Court has determined that the Individual Voter Plaintiffs have

established standing to bring their claims, the Court need not consider whether

Plaintiff NGP has standing. See Vill. of Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252, 264 n.9 (1977) (explaining that if one plaintiff demonstrates

standing, the court “need not consider whether the other individual and corporate

plaintiffs have standing to maintain the suit”). However, for the benefit of the Parties



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    Additionally, the County Defendants are in charge of the day-to-day operations of running
elections in their respective counties. See O.C.G.A. § 21-2-70. The Georgia election code tasks
the local election superintendents with the preparation, delivery, processing of absentee ballots.
See O.C.G.A. § 21-2-381; O.C.G.A. § 21-2-383; O.C.G.A. § 21-2-386. The County Defendants
also have the authority under Georgia law to implement any instructions issued by the State
Election Board and Secretary of State. See O.C.G.A. § 21-2-70
16
   In support of the argument regarding redressability, the County Defendants specifically contend
that Plaintiffs should have sued all one hundred and fifty-nine (159) counties in Georgia. [Docs.
82-1 at 10–13; 90 at 21]. Because Plaintiffs did not do so, the County Defendants submit that
Plaintiffs’ injuries are not traceable to the Secretary, and thus, not redressable. [Doc 82-1 at 13].
However, upon review, the Court finds that Jacobson, upon which the County Defendants rely in
support of their argument, is distinguishable. 957 F.3d 1193 at 1208. In Jacobson, the plaintiffs
sued the Florida Secretary of State to challenge Florida’s ballot order laws. Id. at 1197. On appeal,
the Eleventh Circuit held that the plaintiffs lacked standing because, pursuant to Florida state law,
the Florida Secretary of State did not have the power to redress the plaintiffs’ injuries. Id. at 1208.
However, Georgia law differs from Florida law on this point. See O.C.G.A. § 21-2-50(b). As
noted above, the Georgia Secretary of State and the State Election Board have broad powers to
ensure the uniformity in the administration of election laws. O.C.G.A. § 21-2-31; O.C.G.A. § 21-
2-50(b). Therefore, the County Defendants’ reliance on Jacobson is inapposite.

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and out of an abundance of caution, the Court will provide an organizational standing

analysis.

      As noted above, “[i]n election law cases, an organization can establish

standing by showing that it will need to divert resources from general voting

initiatives or other missions of the organization to address the impacts of election

laws or policies.” Fair Fight Action, 413 F. Supp. 3d at 1266. In this case,

Defendants argue Plaintiff NGP lacks organizational standing because it has not

sufficiently alleged a diversion of resources. [Doc. 91 at 13–14]. Specifically,

Defendants argue that Plaintiff NGP has not precisely explained how its resources

will be diverted or how that diversion is connected to any alleged wrongful conduct.

[Docs. 83-1 at 5–6; 91 at 13–14].

      Upon review, the Court finds that Plaintiff NGP has demonstrated it has

organizational standing under a diversion of resources theory. Under the diversion

of resources theory, “an organization has standing to sue when a defendant’s illegal

acts impair the organization’s ability to engage in its own projects by forcing the

organization to divert resources in response.” Arcia v. Sec’y of Fla., 772 F.3d 1335,

1341 (11th Cir. 2014). Here, Nse Ufot, CEO of NGP, provided two (2) declarations

that specifically explain how NGP’s resources will be diverted. [Docs. 59-3; 105-

5]. Ms. Ufot states that NGP “typically provides resources and assistances to its

constituents to help them complete the process of voting in person.” [Doc. 59-3 ¶ 6].


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She explains that each of the Challenged Policies will force NGP to redirect its

resources away from its typical activities to those centered on educating and assisting

voters with Georgia’s absentee voting system.17 [Id. ¶¶ 7–21]. These declarations

along with the allegations in the Amended Complaint are sufficient to establish

injury under a diversion of resources theory.                See Fla. State Conference of

N.A.A.C.P. v. Browning, 522 F.3d 1153, 1161–66 (11th Cir. 2008) (finding injury-

in-fact for the plaintiff organizations which alleged that they anticipated the need to

divert resources from registration, election-day education, and monitoring to

educating voters on challenged law); Black Voters Matter Fund v. Raffensperger,

No. 1:20-CV-01489-AT, 2020 WL 4597053, at *17 (N.D. Ga. Aug. 11, 2020)

(finding the organizational plaintiff had standing based on “evidence that it has

already and reasonably anticipates having to further divert resources to assisting

socially and economically vulnerable voters obtain postage (or find transportation to

deposit absentee ballots in available drop boxes) to avoid having to expose

themselves to the potential health dangers associated with in-person voting”).




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  As just one example, with regards to the Absentee Age Restriction, Ms. Ufot states that: “if all
voters regardless of age, were permitted to apply to vote absentee just once per election cycle and
request that they receive absentee ballots automatically for all remaining elections in that cycle,
NGP could save significant time and funding that it spends educating and assisting voters with the
absentee application process. The Absentee Application Age Restriction forces NGP to divert
resources toward application outreach election after election and away from its core mission of
registering voters and civic engagement.” [Doc. 59-3 ¶ 11].

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       In sum, the Court concludes all Plaintiffs have standing to pursue this case.

As such, the Court now reaches the merits of Plaintiffs’ motion.18

III.   Motion for Preliminary Injunction

       Having established that Plaintiffs possess Article III standing, the Court now

turns to Plaintiffs’ Motion for Preliminary Injunction. [Doc. 57]. The Court first

sets out the relevant legal standard before addressing the merits of Plaintiffs’

arguments.

       A.      Legal Standard

       A temporary restraining order or preliminary injunction is an “extraordinary

and drastic remedy not to be granted unless the movant clearly established the burden

of persuasion as to each of the four” elements. Siegel v. LePore, 234 F.3d 1163,

1176 (11th Cir. 2000) (internal marks and citations omitted). A plaintiff seeking a

preliminary injunction must demonstrate that: (1) there is a substantial likelihood of



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   Additionally, the Court notes that during oral arguments, Defendants argued that the Court
should decline to grant Plaintiffs’ motion due to the political question doctrine. To support this
position, Defendants cited to a recent order from this District: Coalition for Good Governance,
et al. v. Raffensperger, et al., No. 1:20-CV-01677-TCB (N.D. Ga. May 14, 2020). However, the
Court notes that the instant matter is different in kind from Coalition. As even more recently
explained by the Fifth Circuit in Tex. Democratic Party v. Abbott, the “challenge [in Coalition]
was directed at the specific procedures Georgia planned to use to conduct the election, such as
whether to use electronic voting machines or paper ballots. In other words, the suit challenged the
wisdom of Georgia’s policy choices.” 961 F.3d 389, 398–99 (5th Cir. 2020). Here, however, “the
Court must decide only whether the challenged provisions of the [state] Election Code run afoul
of the Constitution, not whether they offend the policy preferences of a federal district judge.” Id.
at 399. As the Fifth Circuit noted, “[t]he standards for resolving such claims are familiar and
manageable, and federal courts routinely entertain suits to vindicate voting rights.” Id. Thus, the
Court finds that Plaintiffs’ claims are justiciable.

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success on the merits; (2) it will suffer irreparable injury if relief is not granted;

(3) the threatened injury outweighs any harm the requested relief would inflict on

the non-moving party; and (4) entry of relief would serve the public interest.

See, e.g., KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1268 (11th Cir.

2006) (enumerating these well-established factors). The decision as to whether a

plaintiff carries this burden “is within the sound discretion of the district court and

will not be disturbed absent a clear abuse of discretion.” Int’l Cosmetics Exch., Inc.

v. Gapardis Health & Beauty, Inc., 303 F.3d 1242, 1246 (11th Cir. 2002) (quoting

Palmer v. Braun, 287 F.3d 1325, 1329 (11th Cir. 2002)) (internal quotation marks

omitted).

         Before addressing the merits of this case, the Court finds it necessary to define

the nature of Plaintiffs’ challenge. A litigant may challenge the constitutionality of

a statute by asserting a facial challenge, an as-applied challenge, or both. See Harris

v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009). While a

facial    challenge    asserts   that   the    challenged   statute   “always    operates

unconstitutionally,” an “as-applied challenge, by contrast, addresses whether ‘a

statute is unconstitutional on the facts of a particular case or to a particular party.’”

Id. (internal citations omitted). In this case, Plaintiffs contest the constitutionality of

the Challenged Policies as they are applied during the November 2020 election cycle

in light of the COVID-19 pandemic. See generally Am. Compl. As such, each of


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their claims is an as-applied challenge. With this context in mind, the Court turns to

the four (4) preliminary injunction factors.

      B.     Substantial Likelihood of Success on the Merits

      To meet the first element for an injunction, Plaintiffs must demonstrate that

they are likely to succeed on their claims regarding each of the five (5) Challenged

Policies. The Court will address each of the Challenged Policies in this order:

(i) Notification Process, (ii) Absentee Age Restriction, (iii) Absentee Postage Tax,

(iv) Voter Assistance Ban, and (v) Receipt Deadline.

             i.     Notification Process: O.C.G.A. § 21-2-381(b)(4)

      As mentioned above, Plaintiffs challenge O.C.G.A. § 21-2-381(b)(4), which

states: “If the register or clerk is unable to determine the identity of the elector from

information given on the application, the registrar or clerk should promptly write to

request additional information.” O.C.G.A. § 21-2-381(b)(4). Thus, this particular

Challenged Policy has to do with the timeframe within which a county election

official should inform an absentee ballot applicant that his or her identity cannot be

determined from the absentee ballot application. Id. The statute says the official

should so do “promptly,” but provides no definition for this term (e.g., three (3)

business days, five (5) business days, etc.). Id.

      Plaintiffs point to the unquantified term of “promptly” as an ambiguity that

could result in different notification times by the various counties. [Doc. 58 at 7].


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Specifically, Plaintiffs contend that (1) this lack of a uniform notification standard

severely burdens the right to vote, violating the First and Fourteenth Amendments;

(2) the Notification Process, as it stands, does not provide adequate due process, in

violation of the Fourteenth Amendment; and (3) the Notification Process violates

the Equal Protection Clause of the Fourteenth Amendment. [Id. at 16–17, 22–26].

The Court will address each argument in turn, beginning with Plaintiffs’ right to vote

claim.

                      a.     Anderson-Burdick Test

         In their motion, Plaintiffs allege that O.C.G.A. § 21-2-381(b)(4), the

Notification Process, unconstitutionally burdens the right to vote. When considering

the constitutionality of an election law, the Court applies the framework set out in

Anderson, 460 U.S. at 780, as later refined in Burdick, 504 U.S. at 428. Pursuant to

the Anderson-Burdick test,

         [w]hen deciding whether a state election law violates First and
         Fourteenth Amendment associational rights, we weigh the character
         and magnitude of the burden the State’s rule imposes on those rights
         against the interests the State contends justify that burden, and consider
         the extent to which the State’s concerns make the burden necessary.

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997) (internal

quotation marks omitted).

         Stated differently, the Court:

         must first “consider the character and magnitude of the asserted injury
         to the rights protected by the First and Fourteenth Amendment.”

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       [Anderson v. Celebrezze,] 460 U.S. 780, 789, 103 S. Ct. 1564 (1983).
       Then the court must “identify and evaluate the precise interests put
       forward by the State as justifications for the burden imposed by its
       rule.” Id. Finally, the court must “determine the legitimacy and
       strength of each of those interests,” while also considering “the extent
       to which those interests make it necessary to burden the Plaintiff’s
       rights.” Id.

       ....

       [I]f the state election scheme imposes “severe burdens” on the
       plaintiffs’ constitutional rights, it may survive only if it is “narrowly
       tailored and advance[s] a compelling state interest.” Timmons v. Twin
       Cities Area New Party, 520 U.S. 351, 358 (1997). But when a state’s
       election law imposes only “reasonable, nondiscriminatory restrictions”
       upon a plaintiff’s First and Fourteenth Amendment rights, “a State’s
       important regulatory interests will usually be enough to justify
       reasonable, nondiscriminatory restrictions.” Id. (quotations omitted).
       In short, the level of the scrutiny to which election laws are subject
       varies with the burden they impose on constitutionally protected
       rights—“Lesser burdens trigger less exacting review.” Id.

Stein v. Alabama Sec’y of State, 774 F.3d 689, 694 (11th Cir. 2014).

       “For [the] intermediate cases, where the burden on the right to vote is

moderate,” a court must “weigh that burden against the precise interests put forward

by the State as justifications for the burden imposed by its rule, taking into

consideration the extent to which those interests make it necessary to burden the

plaintiff’s rights.”19 Mays v. LaRose, 951 F.3d 775, 784 (6th Cir. 2020) (citing


19
   Put another way, “[r]egulations falling somewhere in between—i.e., regulations that impose a
more-than-minimal but less-than-severe burden—require a flexible analysis, weighing the burden
on the plaintiffs against the [s]tate’s asserted interest and chosen means of pursuing it.” Esshaki
v. Whitmer, No. 2:20-CV-10831-TGB, 2020 WL 1910154, at *4 (E.D. Mich. Apr. 20, 2020)
(citing Ohio Democratic Party v. Husted, 834 F.3d 620, 627 (6th Cir. 2016)) (internal marks
omitted).

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Burdick, 504 U.S. at 434) (internal quotation marks omitted); see also People First

of Alabama v. Sec’y of State for Alabama, No. 20-12184, 2020 WL 3478093, at *6

(11th Cir. June 25, 2020) (Rosenbaum, J. & Pryor, J., concurring) (“But whatever

the burden, no matter how slight, ‘it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation.’”) (internal citations omitted).

In sum, the “Supreme Court has rejected a litmus-paper test for constitutional

challenges to specific provisions of a State’s election laws and instead has applied a

flexible standard.” Billups, 554 F.3d at 1352 (quotation omitted). The Court turns

now to the analysis of the test.

                           1. Severity of the burden

      Under the Anderson-Burdick test, the Court’s first step is to determine the

character and magnitude of the asserted burden (whether the burden is light,

moderate, or severe).      Here, Plaintiffs argue that the burden imposed by the

Notification Process is severe. [Doc. 58 at 16]. Specifically, Plaintiffs contend that

because the state lacks a uniform guideline, each county may apply its own standards

and procedures, which Plaintiffs claim will lead to a delay in processing applications.

[Id. at 16–17].

      However, the Court disagrees. As a preliminary matter, the Court notes that

none of Plaintiffs’ proffered authority or evidence links the notification statute with




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any untimely delay in processing ballot applications or with disenfranchisement.20

Plaintiffs have submitted numerous declarations from voters who either did not

receive a ballot, experienced significant delay in receiving any update on the status

of their application, or whose ballot applications were rejected. [See, e.g., 59-3 ¶¶ 8–

10; 59-9 ¶ 4; 59-11 ¶ 10; 59-13 ¶ 4; 59-14 ¶¶ 4–5; 59-16 ¶¶ 6–13; 59-17 ¶ 9; 59-68

¶¶ 5–8; 59-70 ¶ 5; 59-71 ¶¶ 3–4; 59-90 ¶ 3; 105-3; 105-4 ¶¶ 3–5; 105-7 ¶¶ 3–5; 105-

12 ¶¶ 3–5; 105-12 ¶ 3]. While these issues are troubling, they highlight injuries that

are different than that which this provision addresses—namely, the rejection of an

absentee ballot application because: (1) the election official could not ascertain the

voter’s identity, and (2) the rejection happening without proper notice. Put plainly,

none of the declarants contend they were disenfranchised because an election official




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   As just one example, in her supplemental declaration, Plaintiff Pyne declared that she applied
for an absentee ballot in May for the June 2020 election, but never received her ballot. [Doc. 105-3
¶ 3]. She later received a notice from the county during the week of June 29—three (3) weeks
after Election Day—informing her that her absentee ballot application had been rejected because
she did not select a political party on her application. [Id. ¶ 4]. While the delay is concerning, as
the declaration highlights, Plaintiff Pyne’s application was rejected because she did not select a
political party, not because the election official was unable to ascertain her identity. [Id.]

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could not ascertain their identity, the subject of the statute challenged herein

(O.C.G.A. § 21-2-381(b)(4)). 21

       Thus, the Court finds that based on the record currently before it, the burden

imposed by this statute on voters is, at most, minimal. There is no evidence on the

record before the Court that the statute disenfranchises voters.22 Additionally, the

statute does not prohibit or preclude a voter from correcting the deficiency, utilizing

early voting, or voting in person. See O.C.G.A. § 21-2-381(b)(4). Accordingly, the

Court finds the burden is minimal.




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   Additionally, in their sur-reply and during oral arguments, Defendants indicated that Plaintiffs’
claim challenging the Notification Policy was mooted by the State Election Board Rule 183-1-14-
.11, which provides:

       During early voting, as additional applicants for absentee ballots are determined to
       be eligible, the board of registrars or absentee ballot clerk shall mail or issue official
       absentee ballots or provisional absentee ballots, if appropriate, to such additional
       applicants immediately upon determining their eligibility. The board or clerk shall
       make such determination and mail or issue official absentee ballots; provisional
       absentee ballots, if appropriate, or notices of rejection of absentee ballot
       applications to such additional applicants within 3 business days after receiving the
       absentee ballot applications.”

Ga. Comp. R. & Regs. 183-1-14-.11.
22
   In fact, the Court finds evidence on the record which seems to belie Plaintiffs’ position.
[See Doc. 59-7]. In her declaration, Ms. Carly Weikle, who was temporarily residing in Texas,
explains that she applied for a Primary Election application. [Id. ¶ 6]. However, “[a]bout a week
after applying,” Ms. Weikle received an email informing her that her initial application was
rejected because of a signature mismatch. [Id.] She was able to provide additional information,
received her ballot in time, and cast a vote in the June 2020 primary. [Id.] Thus, contrary to
Plaintiffs’ contention, although there was a delay in processing Ms. Weikle’s application, the Court
finds that delay was not untimely because Ms. Weikle was able to vote absentee. Accordingly,
the facts seem to suggest that any burden imposed by the statute on voters is minimal.

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                           2. Identification and Evaluation of the State’s Interest

      The second and third steps in the Anderson-Burdick test require the Court to

“identify the interests advanced by the State as justifications for the burdens” and

then to “evaluate the legitimacy and strength of each asserted state interest and

determine the extent to which those interests necessitate the burdening of the

plaintiffs’ rights.” Bergland v. Harris, 767 F.2d 1551, 1553–54 (11th Cir. 1985).

Defendants identify two (2) interests for Georgia’s Notification Process:

(1) preventing voter fraud; and (2) permitting county officials the flexibly necessary

do their jobs. [Doc. 83-1 at 10–11]. Because the Court categorizes Plaintiffs’ burden

as minimal, the “State’s important regulatory interests will usually be enough to

justify reasonable, nondiscriminatory restrictions.” Stein, 774 F.3d at 694.

      Here, the State’s interests are reasonable, nondiscriminatory, and legitimate.

See Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 185 (2008) (“There is no

question about the legitimacy or importance of a State’s interest in counting only

eligible voters’ votes.”); see also People First of Alabama, 2020 WL 3478093, at *7

(noting that although infrequent in the state of Alabama, combatting voter fraud was

certainly “a legitimate interest”). Thus, the Court finds that the State’s interests

outweigh the minimal burden on Plaintiffs.

      Accordingly, the Court finds that Plaintiffs do not satisfy their burden to show

a substantial likelihood of success on the merits of their right to vote claim regarding


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the Notification Process. Thus, the Court denies Plaintiffs’ request for injunctive

relief premised on this basis.

                     b.    Procedural Due Process

        Second, Plaintiffs raise a procedural due process argument regarding the

Notification Process. Specifically, Plaintiffs contend that the Notification Process

“deprive[s] voters of their liberty interest in voting without adequate procedural

safeguards.” [Doc. 58 at 22]. To determine what process is due to the public, courts

must apply the test from Mathews v. Eldridge, which requires balancing three (3)

considerations. 425 U.S. 319, 334–35 (1976).

        First, the private interest that will be affected by the official action;
        second, the risk of an erroneous deprivation of such interest through the
        procedures used, and the probative value, if any, of additional or
        substitute procedural safeguards; and finally, the Government’s
        interest, including the function involved and the fiscal and
        administrative burdens that the additional or substitute procedural
        requirement would entail.

J.R. v. Hansen, 736 F.3d 959, 966 (11th Cir. 2013) (quoting Mathews, 425 U.S. at

335).

        Here, the private interest at issue implicates an individual’s right to vote and

is therefore entitled to substantial weight. See Martin v. Kemp, 341 F. Supp. 3d

1326, 1338 (N.D. Ga. 2018) (“Given that the State has provided voters with the

opportunity to vote by absentee ballot, the State must now recognize that the

privilege of absentee voting is certainly deserving of due process.”) (internal marks
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omitted).   As to the second step, Plaintiffs argue that the risk of erroneous

deprivation is high because there is no uniform standard defining the word

“promptly.” [Doc. 58 at 23–24]. Elections officials may interpret “‘promptly’ in

differing and arbitrary ways—which is neither fair no reliable.” [Id. at 24]. Plaintiffs

suggest that their proposed remedy—requiring county officials to notify voters

within three (3) days of any “error”—would provide clarity. [Id.] As to the third

step, Plaintiffs argue that this requirement is not burdensome because the procedure

they suggest is nearly identical to the one already utilized by the State to notify voters

of a rejected ballot for signature mismatch. [Id. at 25].

      The Court disagrees with Plaintiffs’ conclusion. After due consideration, the

Court finds that while the first Mathews factor weighs in Plaintiffs’ favor, the second

and third factors weigh in Defendants’ favor. While the private interest at issue

implicates an individual’s right to vote and thus, shall be afforded substantial weight,

Plaintiffs have not satisfied the second Mathews factor because they do not

demonstrate a substantial risk of erroneous deprivation. No evidence in the record

demonstrates the procedures in the statute unconstitutionally deprived voters of their

right to vote. See supra III.B.i.a.1. Although there is evidence to suggest that

processing delays impaired voters’ ability to cast an absentee ballot, again, Plaintiffs

have not linked any processing delays to the challenged statute, which addresses the

inability to identify a voter and subsequent notification. Moreover, the statute


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provides adequate notice and an opportunity to be heard, 23 which is what procedural

due process requires. See New Port Largo v. Monroe Cty., 873 F. Supp. 633, 644

(S.D. Fla. 1994) (“Procedural due process requires adequate notice and an

opportunity to be heard at a meaningful time and in a meaningful manner.”) (citing

Boddie v. Connecticut, 401 U.S. 371, 378 (1971)). Additionally, the Court finds

that the probative value of any additional procedure is minimal, since the risk of

erroneous deprivation is low. Therefore, this factor weighs in favor of Defendants.

       Finally, regarding the third Mathews factor, Defendants explain that the

additional procedures suggested by Plaintiffs will be financially costly and

administratively burdensome. [See Docs. 83-1; 90 at 20, 24; 91 at 29]. Defendants

provide evidence that suggests that the changes Plaintiffs seek would strain the

State’s already limited budget; thus, they argue the government’s interest is strong.

[Docs. 91 at 10, 18; 91-1 at 1–2]. The Court agrees with Defendants and finds that

this factor weighs in their favor.              See Mathews, 424 U.S. at 348 (“[T]he

Government’s interest, and hence that of the public, in conserving scarce fiscal and

administrative resources is a factor that must be weighed.”).

       In sum, although the first Mathews factor weighs in favor of Plaintiffs, the

second and third factors weigh in Defendants’ favor. Thus, Plaintiffs have failed to


23
  If an official is unable to identify an elector, the elector is contacted and given an opportunity to
provide additional information. See O.C.G.A. § 21-2-381(b)(4). Thus, this provision provides
both notice and an opportunity to be heard.

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establish a substantial likelihood of success on the merits on this issue and are not

entitled to related injunctive relief.

                     c.     Equal Protection

       Finally, Plaintiffs assert that the Notification Process violates the Equal

Protection Clause of the Fourteenth Amendment.             [Doc. 58 at 25–26].       The

Constitution guarantees “equal protection of the laws.” U.S. CONST. amend. XIV.

The Equal Protection Clause applies when a state either classifies voters in disparate

ways or places restrictions on the right to vote. Dunn v. Blumstein, 405 U.S. 330,

336 (1972) (“[A] citizen has a constitutionally protected right to participate in

elections on an equal basis with other citizens in the jurisdiction . . . [but this right]

is not absolute.”). Where, as here, a plaintiff alleges that a state has burdened voting

rights through the disparate treatment of voters, the court reviews the claim under

the Anderson-Burdick flexible standard. See Obama for Am. v. Husted, 697 F.3d

423, 429 (6th Cir. 2012); see also Fla. Democratic Party v. Detzner, No. 4:16CV607-

MW/CAS, 2016 WL 6090943, at *6 (N.D. Fla. Oct. 16, 2016).

       As noted above, the first step of the Anderson-Burdick analysis is to define

the severity of the burden. Here, Plaintiffs argue that because the timing and method

of notification is determined by an individual’s respective county board of election,

“similarly situated voters are placed on unequal terms, and their right to vote is

burdened without justification.” [Doc. 58 at 25].


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       However, the Court disagrees and finds any burden on Plaintiffs is minimal.

Again, as noted above, the harm that Plaintiffs identify is not directly connected to

this provision of Georgia law. 24 See supra. Additionally, the State Election Board

Rule recently issued a rule which provides:

       During early voting, as additional applicants for absentee ballots are
       determined to be eligible, the board of registrars or absentee ballot clerk
       shall mail or issue official absentee ballots or provisional absentee
       ballots, if appropriate, to such additional applicants immediately upon
       determining their eligibility. The board or clerk shall make such
       determination and mail or issue official absentee ballots; provisional
       absentee ballots, if appropriate, or notices of rejection of absentee ballot
       applications to such additional applicants within 3 business days after
       receiving the absentee ballot applications.

Ga. Comp. R. & Regs. 183-1-14-.11. Thus, contrary to Plaintiffs’ assertion, there is

a specific rule in Georgia that ensures uniform treatment.

       Because the burden on voters is minimal, “a State’s important regulatory

interests will usually be enough to justify reasonable, nondiscriminatory

restrictions.” Stein, 774 F.3d at 694. As mentioned above, the State identifies its

interests here as (1) preventing voter fraud and (2) permitting county officials the

flexibly necessary do their jobs. [Doc. 83-1 at 10–11]. Again, the Court finds that

the   State’s     interests    are    reasonable,      nondiscriminatory,         and    legitimate.


24
   The statute states that if the election official “is unable to determine the identity of the elector
from information given on the application, the registrar or clerk should promptly write to request
additional information.” O.C.G.A. § 21-2-381(b)(4). Simply put, there is nothing in the
Challenged Policy’s text that dictates the timeline for processing absentee ballot applications or
the timely delivery of absentee ballots, which are the main problems Plaintiffs identify in their
arguments.

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See Crawford, 553 U.S. at 185 (“There is no question about the legitimacy or

importance of a State’s interest in counting only eligible voters’ votes.”); see also

People First of Alabama, 2020 WL 3478093, at *7 (noting that although infrequent

in the state of Alabama, combatting voter fraud was certainly “a legitimate interest”).

Thus, the Court finds that the State’s interests outweigh the minimal burden on

Plaintiffs

       In sum, the justifications proffered by the State sufficiently outweigh the

minimal burden on Plaintiffs’ voting rights. Consequently, Plaintiffs have failed to

establish a substantial likelihood of success on the merits of their equal protection

claim. Because Plaintiffs have not demonstrated a substantial likelihood of success

on the merits of their claims regarding O.C.G.A. § 21-2-381(b)(4), the Notification

Process, the Court declines to enter any related injunctive relief.

             ii.    Absentee Age Restriction: O.C.G.A. § 21-2-381(a)(1)(G)

       Next, the Court addresses Plaintiffs’ arguments regarding the Absentee Age

Restriction. Pursuant to O.C.G.A. § 21-2-381(a)(1)(G), voters of “advanced age”

(sixty-five (65) or older at the time of the request), voters with disabilities, and

citizens who are overseas may submit one (1) application for presidential preference

primary, primary, and resulting runoffs or general elections. O.C.G.A. § 21-2-

381(a)(1)(G). However, other voters cannot make a single request and must submit

a separate application for each election during an election cycle. Id. Here, Plaintiffs


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assert two (2) theories regarding the unlawfulness of the Absentee Age Restriction.

First, Plaintiffs claim the Absentee Age Restriction imposes a substantial burden on

the right to vote for those under sixty-five (65). [Doc. 58 at 17]. Second, they claim

that O.C.G.A. § 21-2-381(a)(1)(G) facially discriminates on the basis of age in

violation of the Twenty-Sixth Amendment, thus invoking strict scrutiny review. [Id.

at 27–28]. The Court addresses each theory in turn, beginning with Plaintiffs’ right

to vote argument.

                    a.     Anderson-Burdick Test

      Plaintiffs’ argument that O.C.G.A. § 21-2-381(a)(1)(G) burdens the right to

vote must be analyzed under the Anderson-Burdick test. See supra.

                           1.    Severity of Burden

      Again, the first step of the Anderson-Burdick test is to define the severity of

the burden. Here, Plaintiffs argue that the burden on younger voters is “substantial”

because they are “forced to apply for absentee ballots each election” which increases

“the risk of errors, substantial processing times, and late ballot returns.” [Doc. 58 at

17]. Plaintiffs contend there is no justification for these substantial burdens. [Id.]

      However, the Court disagrees.        While it is a burden to fill out a new

application for each election in an election cycle, the Court finds the burden to be

minimal. Georgia voters have a variety of options to submit their absentee ballot

applications: whether by mail, email, or through an online portal. [See Docs. 126 at


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18–19; 126-3]. Moreover, In Plaintiffs’ submitted declarations, voters claim that the

application process is inconvenient, but they do not claim that they cannot vote at all

due to the process. [See, e.g., Docs. 59-6, 59-7]. As the Supreme Court noted in

Crawford, nominal inconveniences do not qualify as a substantial burden on most

voters’ right to vote. 553 U.S. at 198; see also Texas Democratic Party v. Abbott,

961 F.3d 389, 405 (5th Cir. 2020) (“The Constitution is not offended simply because

some groups find voting more convenient than [others].”) (internal marks and

citations omitted).

       Because the burden is minimal, “the States’ regulatory interest is generally

enough to uphold a reasonable, nondiscriminatory restriction on voting rights.”

Timmons, 520 U.S. at 358. Here, Defendants offer several reasons for the State’s

interest:

       First, there is a strong interest in helping the most vulnerable, including
       Georgia’s aged population. See Abbott, 961 F.3d at 404–05 (quoting
       [McDonald v. Board of Election Commissioners of Chicago, 394 U.S.
       802, 810–811 (1969)]). Second, the risk of fraud is reduced when
       unused absentee ballots are limited. See Billups, 554 F.3d at 1352,
       (describing anti-fraud efforts as “relevant and legitimate”). Third, as
       demonstrated by Plaintiffs’ own declarants, some voters are
       temporarily residing in other states due to education, familial, or other
       obligations. See Docs. No. [59-6, 7, 12, 70, 90]. As personal
       circumstances change, these voters may return to Georgia[,] but their
       absentee ballot will be sent across the country. From both an
       administrative and security standpoint, this potential outcome
       outweighs the de minimis harm of requesting another absentee ballot
       online or by mail.

[Doc. 91 at 29–21].

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       Upon review, the Court finds Defendants’ reasons are legitimate and

sufficient. See Abbott, 961 F.3d at 402 (noting that the state has a legitimate interest

“in giving older citizens special protection and in guarding against election fraud”).

Thus, Plaintiffs have not demonstrated a likelihood of success on the merits on this

argument challenging the Absentee Age Restriction Policy.

                       b.     Twenty-Sixth Amendment

       Next, the Court turns to Plaintiffs’ Twenty-Sixth Amendment argument.

Plaintiffs argue that the statute facially discriminates against younger voters because

older voters only need to apply for an absentee ballot once during an election cycle

while younger voters must apply for a new absentee ballot for each election; thus,

Plaintiffs claim the statute violates the Twenty-Sixth Amendment. 25 [Doc. 58 at 27–

28].

       Plaintiffs’ theory for their Twenty-Sixth Amendment claim seems to be a

novel issue of law, which has not been widely addressed. Courts considering

Twenty-Sixth Amendment claims have acknowledged “the dearth of guidance on

what test applies.” League of Women Voters of Fla., Inc. v. Detzner, 314 F. Supp.

3d 1205, 1221 (N.D. Fla. 2018) (quoting N.C. State Conference of the NAACP v.

McCrory, 182 F. Supp. 3d 320, 522 (M.D. N.C. 2016), rev’d on other grounds, 831


25
   The Twenty-Sixth Amendment states: “The right of citizens of the United States, who are
eighteen years of age or older, to vote, shall not be denied or abridged by the United States or any
state on account of age.” U.S. CONST. amend. XXVI.

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F.3d 204 (4th Cir. 2016)); Nashville Student Org. Comm. v. Hargett, 155 F. Supp.

3d 749, 757 (M.D. Tenn. 2015) (“[T]here is no controlling caselaw . . . regarding the

proper interpretation of the Twenty-Sixth Amendment or the standard to be used in

deciding claims for Twenty-Sixth Amendment violations based on an alleged

abridgment or denial of the right to vote.”); see also Middleton v. Andino, No. 3:20-

CV-01730-JMC, 2020 WL 4251401, at *4 (D.S.C. July 24, 2020) (noting the debate

surrounding the Twenty-Sixth Amendment).

      The only appellate case on point is Abbott from the Fifth Circuit. 961 F.3d

389. In Abbott, the Texas Democratic Party challenged Texas’ law limiting absentee

ballots to voters aged sixty-five (65) or older and voters with disabilities. No. CV

SA-20-CA-438-FB, 2020 WL 2541971, at *2 (W.D. Tex. May 19, 2020). The

district court held that the statute’s limitation on absentee voting to voters over

sixty-five (65) was unconstitutional age discrimination, and thus, “also violates the

clear text of the Twenty-Sixth Amendment under a strict scrutiny analysis.” Id. at

*5.

      On an application for stay to the Fifth Circuit, the motions panel unanimously

granted a stay of the injunction. Abbott, 961 F.3d at 403. The panel disagreed with

the district court about the applicable level of scrutiny and stated that rational basis,

rather than strict scrutiny, would “probably” apply to an absentee ballot voter

classification that does not “absolutely prohibit” some group from voting. Id. The


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panel cited to the Supreme Court’s decision in McDonald, to support its analysis.

Id. at 403–04. Specifically, the panel stated that McDonald stood for the proposition

that unless voters “are in fact absolutely prohibited from voting by the State,” the

right to vote is not “at stake” and thus, “rational-basis review follows.” Id. at 404

(internal citations and marks omitted).

      Defendants argue that the holding in Abbott—the only appellate court to

address this issue—should inform the Court’s decision on Plaintiffs’ Twenty-Sixth

Amendment argument. [Doc. 83 at 15]. Plaintiffs disagree and point out that

McDonald was decided two (2) years before the Twenty-Sixth Amendment was

ratified and addressed an Equal Protection claim, not a Twenty-Sixth Amendment

claim. [Docs. 96 at 32; 97 at 15]. Thus, Plaintiffs contend the Fifth Circuit panel in

Abbott was mistaken in relying on McDonald to apply rational basis review.

      While there is some merit to Plaintiffs’ argument, the Court notes that the

Supreme Court denied the emergency application to vacate the stay of the injunction

granted by the Fifth Circuit panel in Abbott. See Tex. Democratic Party v. Abbott,

140 S. Ct. 2015, 2105 (2020). Thus, for now, the Court finds it is appropriate to

follow the Fifth Circuit panel’s reasoning in Abbott and apply rational basis review

to the analysis of O.C.G.A. § 21-2-381(a)(1)(G) rather than strict scrutiny.

      Under rational basis review, “statutory classifications will be set aside only if

no grounds can be conceived to justify them. The law need only bear some rational


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relationship to a legitimate state end.” Abbott, 961 F.3d at 406 (internal citations

omitted). Here, the law has a rational relationship to at least two legitimate state

interests: (1) the state’s interest in helping older citizens vote, see id. at 404–05, and

(2) minimizing the risk of voter fraud. See Crawford, 553 U.S. at 185. Therefore,

Plaintiffs have not demonstrated they are likely to succeed on the merits of their

Twenty-Sixth Amendment argument.

      In sum, Plaintiffs have not demonstrated they are likely to succeed on the

merits of their claims regarding O.C.G.A. § 21-2-381(a)(1)(G), the Absentee Age

Restriction. Therefore, they are not entitled to the requested injunctive relief.

             iii.   Absentee Postage Tax

      The Court now turns to Plaintiffs’ argument regarding postage for absentee

ballots. As mentioned previously, the Georgia Code does not address who must pay

for return postage on absentee ballots. Plaintiffs argue that Georgia’s failure to

provide pre-paid postage: (1) severely burdens the right to vote, and (2) is an

unconstitutional poll tax in violation of the Twenty-Fourth Amendment. [Doc. 58

at 17–18, 28–30]. The Court will discuss each argument in turn, beginning with

Plaintiffs’ right to vote argument, before turning to Plaintiffs’ argument that the

failure to provide pre-paid postage acts as a de facto poll tax.




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                    a.    Anderson-Burdick

      The Court begins with its assessment of the Anderson-Burdick test, outlined

supra. As a reminder, the test first mandates that the Court determine the character

and magnitude of the asserted burden (whether the burden is light, moderate or

severe). Bergland, 767 F.2d at 1553. Then, the Court must “identify the interests

advanced by the State as justifications for the burdens” and “evaluate the legitimacy

and strength of each asserted state interest and determine the extent to which those

interests necessitate the burdening of the plaintiffs’ rights.” Id. at 1553–54.

                          1. Severity of Burden

      The first step of the Anderson-Burdick test is to characterize the severity of

the burden. Here, Plaintiffs characterize the burden as “severe.” [Doc. 58 at 17].

They maintain that the monetary costs are particularly burdensome in a health

pandemic, when the ability to obtain postage is curtailed. [Id. at 17–18]. Defendants

argue that the burden is merely incidental and minimal. [Doc. 91 at 23–24].

      Judge Amy Totenberg, a fellow judge in this District, recently rejected a

similar argument to that of Plaintiffs’ in Black Voters Matter Fund. See 2020 WL

4597053 at *25. In that case, the plaintiffs asserted that buying postage was a severe

burden on the right to vote, especially during the COVID-19 public health crisis. Id.

However, Judge Totenberg disagreed and instead characterized the burden on the

plaintiffs’ right to vote as moderate. Id. at *34. Specifically, she stated due to “the


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potential alternatives to purchasing stamps available to many (though not all) voters,

the Court cannot say the burden of obtaining postage is severe, and instead

characterizes it as moderate for present purposes.”26 Id.

       The Court finds this reasoning persuasive. As Defendants noted, there are

widely available alternatives to voting by mail, including use of drop boxes or hand

delivery. [Docs. 90 at 19; 90-10 ¶¶ 4–5]. Additionally, the Secretary and the State

Election Board have taken several steps to address the challenges posed by

COVID-19. [See Doc. 90-1 ¶ 4]. Based on this evidence, in light of the specific

facts of this case, the Court cannot say the burden of obtaining postage is severe.

Instead, after considering the hardships of the COVID-19 pandemic and Defendants’

responsive measures thus far, the Court finds that the postage requirement poses a

moderate burden on Plaintiffs. See Black Voters Matter Fund, 2020 WL 4597053,

at *34.

                              2. Identification and Balance of State Interest

       Because the Court categorizes Plaintiffs’ burden as moderate, the undersigned

must weigh the “burden on [Plaintiffs] against the State’s asserted interest and

chosen means of pursuing it.” Esshaki, 2020 WL 1910154, at *4. Defendants’

interest is mainly fiscal. [Doc. 91 at 24]. Specifically, Defendants provide evidence


26
  The alternatives include voting in person, dropping off the ballot at a secure drop-off location,
or hand delivering the ballot to the registrar’s office. See Black Voters Matter Fund, 2020 WL
4597053, at *26.

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that due to a decrease in tax revenue, the State’s budget is strained. [Doc. 91-1 ¶¶ 8–

10]. “Fiscal responsibility, even if only incrementally served, is undeniably a

legitimate and reasonable legislative purpose.” Ohio Democratic Party v. Husted,

834 F.3d 620, 634 n.8 (6th Cir. 2016). Defendants maintain that Plaintiffs’ requested

relief regarding postage would cost anywhere between $800,000–$4.2 million

(depending on voter participation and the cost per ballot) during a time when the

budget is already strained. [Doc. 91 at 11–12; see also Docs. 90-16 ¶ 6; 91-1 at 1–

2]. The State has a limited amount of resources (particularly scarce during the

current pandemic) and has already allocated funds and resources to addressing

burdens on the right to vote. [See Doc. 91 at 10]; see also Ga. Comp. R. & Regs.

183-1-14-0.6-.14.

      Additionally, Plaintiffs have failed to present sufficient evidence at this time

to show their burden outweighs the State’s interest. Although Plaintiffs presented

declarations from voters who claim they could not afford a stamp, the Court notes

there are alternative to purchasing a postage stamp including utilizing drop boxes,

hand delivery, and voting in person. See supra. In light of these alternatives,

Plaintiffs have not demonstrated a likelihood of success on the merits of their

argument regarding the Absentee Postage Tax as it relates to their right to vote claim.

Accordingly, the Court denies preliminary injunctive relief on this basis.




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                        b.      Twenty-Fourth Amendment

         Next, Plaintiffs argue that by failing to provide postage, Georgia has imposed

a fee on voting, which violates the Twenty-Fourth Amendment.27 [Doc. 58 at 28–

29]. Again, Judge Totenberg rejected an identical argument in Black Voters Matter

Fund. See 2020 WL 4597053 at *25. There, the plaintiffs argued that requiring

voters to buy postage was an unconstitutional poll tax. Id. at *26. But Judge

Totenberg disagreed and held that the plaintiffs’ argument failed. Id. at *27.

         In her order, Judge Totenberg discussed at length the case law as it relates to

poll tax cases. Id. at *21–25 (collecting cases). Ultimately, these cases stood for

“the narrow proposition that payments to the government ‘in connection’ with voting

can be considered poll taxes under [Harper v. Virginia State Bd. of Elections, 383

U.S. 663 (1966)], and [Harman v. Forssenius, 380 U.S. 528, 529 (1965)], even if not

designated as such.” Id. at *25. Judge Totenberg further stated that “incidental

payments to a government agency may in some circumstances be sufficiently

‘connected’ with voting if such payments are a necessary condition of accessing the




27
     The Twenty-Fourth Amendment states:

         The right of citizens of the United States to vote in any primary or other election
         for President or Vice President, for electors for President or Vice President, or for
         Senator or Representative in Congress, shall not be denied or abridged by the
         United States or any State by reason of failure to pay any poll tax or other tax.

U.S. CONST. amend. XXIV.

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polls generally applicable to all voters, such as payments for required documentation

in order to establish eligibility to vote.” Id. (internal citations omitted).

      However, upon reviewing the facts, Judge Totenberg held that the State of

Georgia has not imposed an unconstitutional de facto poll tax by failing to provide

pre-paid return postage for absentee ballots. Id. at *27. As Judge Totenberg

observed:

      The fact that any registered voter may vote in Georgia on election day
      without purchasing a stamp, and without undertaking any “extra steps”
      besides showing up at the voting precinct and complying with generally
      applicable election regulations, necessitates a conclusion that stamps
      are not poll taxes under the Twenty-Fourth Amendment prism.
      In-person voting theoretically remains an option for voters in Georgia,
      though potentially a difficult one for many voters, particularly during a
      pandemic. The Court recognizes that voting in person is materially
      burdensome for a sizable segment of the population, both due to the
      COVID-19 pandemic and for the elderly, disabled, or those out-of-
      town. But these concerns—while completely justifiable and
      pragmatically solvable—are not the specific evils the Twenty-Fourth
      Amendment was meant to address.

Id.

      The same reasoning applies here. As noted above, there are alternative means

by which to vote absentee besides voting by mail. These other options include

delivering any completed ballot at the registrar’s office or depositing the ballot at a

secure drop-box location. Of course, voting in person also remains an option. While

the public health concerns related to voting during a global pandemic are valid, they

are “not the specific evils the Twenty-Fourth Amendment was meant to address.”


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Id. For the foregoing reasons, Plaintiffs have not shown a substantial likelihood of

success on the merits as to their poll tax claim. Thus, the Court denies any related

injunctive relief.

             iv.     Voter Assistance Ban: O.C.G.A. § 21-2-385(a)

      The Court now turns to Plaintiffs’ arguments challenging O.C.G.A. § 21-2-

385(a), the statute they label as the Voter Assistance Ban. As discussed supra,

Georgia law prohibits third parties from assisting with returning a signed, sealed

absentee ballot unless the third party is the “elector’s mother, father, grandparent,

aunt, uncle, brother, sister, spouse, son, daughter, niece, nephew, grandchild, son-

in-law, daughter-in-law, mother-in-law, father-in-law, brother-in-law, sister-in-law,

or an individual residing in the household of such elector.” O.C.G.A. § 21-2-385(a).

Plaintiffs make three (3) arguments regarding the invalidity of O.C.G.A., § 21-2-

385(a).   Plaintiffs claim the ban: (1) unreasonably burdens the right to vote,

(2) violates the First Amendment, and (3) is preempted by Section 208 of the Voting

Rights Act. The Court discusses each argument in turn.

                     a.    Anderson-Burdick

                           1. Severity of Burden

      The Court begins with Plaintiffs’ right to vote argument, which is analyzed

pursuant to the Anderson-Burdick framework. See supra. The Court’s first task

under Anderson-Burdick is to determine the character and magnitude of the asserted

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burden. In their motion, Plaintiffs characterize the burden as severe, especially for

voters with disabilities, voters with health conditions, low-income voters, voters who

lack easy access to reliable transportation, and young voters. [Doc. 58 at 13, 21–

22]. While Plaintiffs’ arguments are compelling, the Court finds that based on the

evidence before the Court, the burden is, at most, moderate rather than severe. Mays,

951 F.3d at 786 (finding that the burden on the right to vote for jailed voters was

moderate given the alternative voting opportunities that the state provided); League

of Women Voters v. LaRose, No. 2:20-CV-1638, 2020 U.S. Dist. LEXIS 91631, at

*20 (S.D. Ohio Apr. 3, 2020) (finding that the burden on the right to vote was not

severe, even in the midst of challenges posed by COVID-19, because voters had

various means by which to vote, both by mail and in person).

      The Court recognizes that due to the current COVID-19 pandemic, voters may

face difficulty, and there are voters who either must or prefer to remain homebound.

But Defendants have taken steps to address the challenges of voting during the

COVID-19 public health emergency, and these same voters still have the option of

filling out an absentee ballot and mailing their vote. See supra. Thus, the Court

finds that although a burden does exist, it is only moderate.

                          2. Identification and Balance of State Interest

      Having determined that the burden imposed is moderate, the Court must

weigh the “burden on [Plaintiffs] against the State’s asserted interest and chosen


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means of pursuing it.” Esshaki, 2020 WL 1910154, at *4. Here, Defendants identify

three (3) interests: (1) the State’s interest in preventing voter fraud, (2) the State’s

interest in promoting voter confidence, and (3) the State’s generalized interest in the

orderly administration of elections. [Docs. 83-1 at 31; 91 at 21; 126 at 19–21].

Defendants’ method to achieve those goals is to limit those who can collect voters’

absentee ballots to family members, with certain statutory exceptions. See O.C.G.A.

§ 21-2-385(a).

       In balancing the State’s interest with its chosen means, based on the current

record, the Court cannot say that the State’s means are unreasonable or unduly

burdensome. 28 See Crawford, 553 U.S. at 192–97 (holding that deterring voter fraud

is a legitimate policy on which to enact an election law); Burdick, 504 U.S. at 433

(explaining that states have a role in ensuring their elections are fair, honest, and

orderly); Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (“Confidence in the election

process is essential to the functioning of our participatory democracy.”); Eu v. San

Francisco Cty. Democratic Central Comm., 489 U.S. 214, 231 (1989) (“A State

indisputably has a compelling interest in preserving the integrity of its election

process.”); Greater Birmingham Ministries v. Sec’y of State for Alabama, 966 F.3d

1202, 1238 (11th Cir. 2020) (finding Alabama’s policy justification of combatting



28
  The Court notes that discovery and factual development may potentially fortify Plaintiffs’ claim
for permanent injunctive relief.

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voter fraud was a valid policy justification for enacting the voter ID law at issue). In

sum, Defendants have demonstrated that their interests and methods outweigh the

burden suffered by Plaintiffs. Thus, Plaintiffs are unlikely to succeed on the merits

of their right to vote claim as it relates to the Voter Assistance Ban. Accordingly,

the Court denies any related injunctive relief.

                    b.     First Amendment

      Next, Plaintiffs claim the Voter Assistance Ban prevents them from engaging

in election related speech and associational activities, in violation of the First

Amendment. [Doc. 58 at 30–31]. However, several courts have determined that

collecting ballots does not qualify as expressive conduct protected by the First

Amendment. See Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018) (finding

the collection of absentee ballots is not expressive conduct); Feldman v. Ariz. Sec’y.

of State’s Office, 843 F.3d 366, 372 (9th Cir. 2016) (holding that collecting ballots

is not expressive conduct “[e]ven if ballot collectors intend to communicate that

voting is important”); Voting for Am. Inc. v. Steen, 732 F.3d 382, 391 (5th Cir.

2013) (finding the collection and delivering of voter-registration applications are not

expressive conduct); Democracy N. Carolina v. N. Carolina State Bd. of Elections,

No. 1:20CV457, 2020 WL 4484063, at *50 (M.D. N.C. Aug. 4, 2020) (“Regarding

the delivering of the absentee ballot requests, however, the court will follow the Fifth

and Ninth Circuits in finding that the collecting and delivering of absentee ballot


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request forms is not expressive conduct and therefore does not implicate the First

Amendment.”). In accordance with this persuasive authority, the Court finds that

collecting ballots is not expressive conduct.

      Because delivering absentee ballot requests is not expressive conduct, it is

subject only to rational basis review. See Johnson v. Robison, 415 U.S. 361, 375

n.14 (1974) (“[S]ince we hold . . . that the Act does not violate appellee’s right of

free exercise of religion, we have no occasion to apply to the challenged

classification a standard of scrutiny stricter than the traditional rational-basis test.”);

Voting for Am., 732 F.3d at 392 (“Because the Non-Resident and County provisions

regulate conduct only and do not implicate the First Amendment, rational basis

scrutiny is appropriate.”). Again, rational basis review only requires that legislative

action, “[a]t a minimum, . . . be rationally related to a legitimate governmental

purpose.” Clark v. Jeter, 486 U.S. 456, 461 (1988). There is a “strong presumption

of validity” under rational basis review, so long as “there is any reasonably

conceivable state of facts that could provide a rational basis for the [statute.]” FCC

v. Beach Commc’ns, 508 U.S. 307, 314 (1993). The burden is on the challenging

party to establish that the statute is unconstitutional. Id. at 315.

      Here, Defendants contend the limitations on who may deliver absentee ballots

is a rational means of combating election fraud and verifying the eligibility of voters.

[Doc. 91 at 32]. Upon rational basis review, the Court finds that this restriction is


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reasonably related to a legitimate governmental purpose and Plaintiffs have not

carried their burden to demonstrate the law is unconstitutional. See Crawford, 553

U.S. at 185; Democracy N. Carolina, 2020 WL 4484063, at *52 (finding that North

Carolina’s limitation on delivery of absentee ballot requests “is a rational means of

promoting the government’s legitimate interest combating election fraud”). The

State wants to guard against voter fraud, and the Court defers to the legislature’s

chosen method to pursue that goal. Williams v. Pryor, 240 F.3d 944, 948 (11th Cir.

2001) (“Rational basis scrutiny is a highly deferential standard that proscribes only

the very outer limits of a legislature’s power.”). Accordingly, the Court finds that

Plaintiffs do not demonstrate a substantial likelihood of success on the merits of their

First Amendment argument regarding the Voter Assistance Ban. Thus, the Court

denies injunctive relief on this basis.

                    c.     Section 208 Preemption Claim

      Finally, Plaintiffs maintain that O.C.G.A. § 21-2-385(a), the Voter Assistance

Ban, is at odds with Section 208 of the Voting Rights Act (“VRA”) because it

prohibits voters with a disability from receiving assistance from persons of their

choice. [Doc. 58 at 32]. Thus, Plaintiffs present an argument of conflict preemption.

[Id.] Conflict preemption occurs “where [1] compliance with both federal and state

regulations is a physical impossibility, or where [2] state law stands as an obstacle

to the accomplishment and execution of the full purposes and objectives of


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Congress.” Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 98 (1992)

(internal marks and citations omitted). Plaintiffs argue that both are true here.

       Section 208 provides: “[a]ny voter who requires assistance to vote by reason

of blindness, disability, or inability to read or write may be given assistance by a

person of the voter’s choice, other than the voter’s employer or agent of that

employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508. Thus, the

VRA promises freedom of choice for voters with disabilities or who lack literacy.

Id. The VRA defines the terms “vote” and “voting” to include:

       [A]ll action necessary to make a vote effective in any primary, special,
       or general election, including, but not limited to, registration, listing
       pursuant to this chapter, or other action required by law prerequisite to
       voting, casting a ballot, and having such ballot counted properly and
       included in the appropriate totals of votes cast with respect to
       candidates for public or party office and propositions for which votes
       are received in an election.

52 U.S.C. § 10310.

       Here, Plaintiffs argue that “voting” in the context of the VRA includes

delivery of ballots. They argue that because the ban restricts the delivery of ballots,

it cannot co-exist with the VRA. However, at this juncture, the Court finds that

Plaintiffs have not demonstrated a substantial likelihood of success on the merits

because this issue presents a question too close to call.29 See Stockstill v. City of


29
   Plaintiffs fail to cite to any authority from the Eleventh Circuit on this issue, and the authority
that Plaintiffs do present to the Court address state laws that are distinguishable from O.C.G.A.
§ 21-2-385(a). [See Doc. 58 at 31–32].

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Picayune, No. 1:16CV4-LG-RHW, 2017 WL 3037431, at *10-11 (S.D. Miss.

July 18, 2017) (“But at the end of the day, a close question, in the Court’s view,

means that the plaintiff has not shown a substantial likelihood of success on the

merits, which is the high burden he must carry at a preliminary injunction hearing.”).

The Court finds that further briefing and discovery are necessary to determine

whether Plaintiffs’ argument will ultimately be successful. Thus, Plaintiffs have not

demonstrated a likelihood of success with regards to their Section 208 preemption

claim at this stage of the proceedings.

      For the foregoing reasons, the Court finds that Plaintiffs have not shown a

substantial likelihood of success on the merits of their claims with regards to

O.C.G.A. § 21-2-385(a), the Voter Assistance Ban. Accordingly, the Court denies

any related injunctive relief.

             v.     Receipt Deadline: O.C.G.A. § 21-2-386(a)(1)(F)

      The Court now turns to the Parties’ arguments regarding O.C.G.A. § 21-2-

386(a)(1)(F), the Receipt Deadline. As a refresher, the State of Georgia does not

count absentee ballots received after the closing of polls on Election Day, which this

year will be November 3, 2020, at 7:00 p.m. See O.C.G.A. § 21-2-386(a)(1)(F).

This is true regardless of whether the late arrival was outside the voter’s control and

even if the ballot was postmarked on Election Day. Id. Plaintiffs argue that in light

of COVID-19, the Receipt Deadline: (1) imposes severe burdens on the right to vote


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and (2) deprives voters of their liberty interest without adequate procedural

safeguards (that is to say, violates procedural due process). [Doc. 58 at 18–20; 22–

25]. The Court address each argument in turn.

                    a.    Anderson-Burdick

      The Court begins with Plaintiffs’ right to vote argument, which must be

analyzed under the Anderson-Burdick test. See supra.

                          1. Severity of Burden

      The first step is to characterize the severity of the burden. Plaintiffs argue that

the burden is severe and proffer compelling evidence in support of this position.

Their evidence demonstrates that there were a record number of absentee ballot

requests for the Georgia June 2020 Primary Election, and there will likely be even

more requests for November 2020 election. [See Doc. 59-1 at 3]. As mentioned

above, the State issued over 1.9 million absentee ballots to voters for the June 2020

Primary. [Id. at 3, 9]. Ultimately, 1.1 million absentee ballots were recorded as cast.

[Id.] This surge of absentee voting applications has led to well-documented delays

concerning the delivery of absentee ballot applications. [See, e.g., Docs. 59-38, 59-

39, 59-40, 59-41, 59-43, 59-44, 59-45].

      Additionally, Plaintiffs have shown that Georgia voters can be and have been

disenfranchised by the current receipt deadline through no fault of their own.

[See, e.g., Doc. 59-6 ¶ 6] (Plaintiff voter received her absentee ballot on the day


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before Election Day). In 2018—a time free from the current complications of the

COVID-19 pandemic and related strains on voting infrastructure—over 3,500

absentee ballots were rejected in Georgia for arriving after the Election Day receipt

deadline. [Doc. 59-1 at 4]. During the June 2020 Primary Election, the number of

rejected-as-late ballots doubled to 7,281. [Doc. 105-1 at 13]. This evidence suggests

the burden on many voters will be severe.

      A Wisconsin district court addressed this very issue in Democratic Nat’l

Comm. v. Bostelmann, No. 20-CV-249-WMC, 2020 WL 1638374, at *3 (W.D. Wis.

Apr. 2, 2020). In that case, the plaintiffs sought an injunction postponing the election

and prohibiting enforcement of several aspects of Wisconsin’s election regulations,

including the requirement that “absentee ballots must be received by 8:00 p.m. on

election day to be counted.” Id. at *2. The district court noted the plaintiffs would

experience a severe burden in the upcoming election due to the backlog of absentee

voting requests and the dangers posed by COVID-19. Id. at *5. While the state’s

interests in that case were strong (maintaining order and preventing confusion), the

district court held these interests were not so compelling as to overcome the severe

burden the state’s receipt deadline imposed on its citizens’ right to vote via absentee

ballot. Id. at *13. Therefore, the court held that plaintiffs demonstrated a likelihood

of success on the merits on this issue. Id. As a result, the district court issued an

injunction that, in part, extended the deadline for receipt of absentee ballots from


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election day, April 7, 2020, to April 13, 2020. Id. at *16–18. However, the district

court did not impose a postmarked-by date requirement; thus, ballots would be

accepted until 4:00 p.m. on April 13, 2020, regardless of the postmark date. Id. The

Seventh Circuit affirmed that portion of the injunction. Democratic Nat’l Comm. V.

Bostelmann, No. 20-1538, 2020 WL 3619499, at *1 (7th Cir. Apr. 3, 2020).

      However, the United States Supreme Court granted a partial stay on the

injunction a day before the election. Republican Nat’l Comm. v. Democratic Nat’l

Comm., 140 S. Ct. 1205, 1206 (Apr. 6, 2020). The Court’s primary issue with the

district court’s injunction was that it did not impose a postmarked-by date

requirement. Id. By failing to require that ballots be postmarked by the election

date (April 7, 2020), the Court felt that the injunction improperly extended the length

of the voting period, which “fundamentally alters the nature of the election.” Id. at

1207. Consequently, the Court upheld the district court’s ruling in requiring the state

to count ballots received by April 13, 2020, but also added the requirement that the

absentee ballots had to be postmarked by election day, which was April 7, 2020, to

be counted. Id. at 1208. This new postmarked-by deadline resulted in 79,054

absentee ballots being counted. [Doc. 59-54 at 7].

      The situation here is similar to that of Bostelmann. As in Wisconsin, there is

evidence that a record number of absentee ballot requests in Georgia will lead to a

potentially substantial backlog, increasing the possibility that voters will receive


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their ballots on a later date. [See generally Doc. 59-1]. It has been established that

more than 7,000 voters were disenfranchised by Georgia’s June 2020 Primary

Election ballot receipt deadline. [Doc. 105-1 at 13]. According to Plaintiffs, these

voters were disenfranchised for no error of their own, but due to Georgia’s poor

administration of absentee ballots and the policy they now challenge, the Receipt

Deadline. [Doc. 103 at 15–16]. Based on this evidence, the Court finds that burden

imposed on voters by Georgia’s current absentee ballot receipt deadline is severe.

See Bostelmann, 2020 WL 1638374, at *17; accord Doe v. Walker, 746 F. Supp. 2d

667, 679–80 (D. Md. 2010) (“By imposing a deadline which does not allow

sufficient time for absent uniformed services and overseas voters to receive, fill out,

and return their absentee ballots, the state imposes a severe burden on absent

uniformed services and overseas voters’ fundamental right to vote.”).

                          2. Identification and Balance of State Interest

      Because the burden is severe, O.C.G.A. § 21-2-386(a)(1)(F) may survive only

if it is “narrowly tailored and advance[s] a compelling state interest.” Timmons, 520

U.S. at 358. Defendants claim that a postmarked-by deadline and/or extension will

frustrate the State’s interests in conducting an efficient election, maintaining order,

quickly certifying election results, and preventing voter fraud. [Docs. 90 at 24–25;

91 at 26]. While these interests are strong, the Court finds that Defendants’ chosen

means of pursing them is not justified by the severe burden faced by certain voters.


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“More to the point, the state’s general interest in the absentee receipt deadline is not

so compelling as to overcome the burden faced by voters who, through no fault of

their own, will be disenfranchised by the enforcement of the law.” Bostelmann,

2020 WL 1638374 at *17. In other words, while the Court recognizes the State’s

important interests, the statutorily imposed deadline acts as an undue burden on the

right to vote.

      For these reasons, as applied to Plaintiffs for the upcoming November 2020

general election, the Court concludes the State’s asserted interests do not justify or

outweigh the severe burden imposed on Plaintiffs by the Receipt Deadline. As such,

Plaintiffs show a substantial likelihood of success, satisfying the first of the

preliminary injunction factors. See KH Outdoor, 458 F.3d at 1268.

                    b.     Due Process

      Plaintiffs also argue that the Receipt Deadline violates procedural due process.

As set forth above, to determine the adequacy of procedural protections, courts must

apply the Mathews balancing test. The Court must balance three factors: (1) the

private interest that will be affected by the official action; (2) the risk that the

procedures used will cause an erroneous deprivation, and the probative value of any

additional or substitute procedural safeguards; and (3) the government’s interest,

including any fiscal and administrate burdens. Mathews, 425 U.S. at 334–35.




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       Upon review, the Court finds the Mathews balancing test tips in Plaintiffs’

favor. Here, like before, the private interest at issue implicates an individual’s right

to vote and is therefore entitled to substantial weight. See Martin, 341 F. Supp. 3d

at 1338 (“Given that the State has provided voters with the opportunity to vote by

absentee ballot, the State must now recognize that the privilege of absentee voting

is certainly deserving of due process.”) (internal marks and citation omitted). As for

the second Mathews factor, the Court finds that risk of erroneous deprivation is high

due to massive delays and exigent circumstances caused by COVID-19. [See, e.g.,

Docs. 59-38, 59-39, 59-40, 59-41, 59-43, 59-44, 59-45].

       Even before the pandemic, thousands of mailed absentee ballots have been

rejected in Georgia for arriving after the receipt deadline during recent election

cycles. [See Doc. 103 at 15]. For example, in 2018, at least 3,045 of the 3,581

absentee ballots arrived within seven (7) days of Election Day, implying that many

were mailed either before or on Election Day.30 [Doc. 59-1 at 18]. Plaintiffs’

proposed remedy—extending the deadline for receiving absentee ballots—would be

a valuable measure to address the risk of absentee voter disenfranchisement. [See

Doc. 58 at 24]. Extending the deadline would ensure that voters who receive their

ballots shortly before Election Day are able to mail their ballots without fear that



30
 In fact, the majority of the rejected ballots (2,427) were received within three (3) days of Election
Day. [Doc. 59-1 at 18].

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their vote will not count. 31 [See Doc. 59-1 at 18] (demonstrating that in the 2018

General Election, around 67% percent of late ballots arrived within three (3)

business days after the election).            As to the third Mathews factor, the Court

acknowledges that Defendants have a strong interest in certifying election results

and maintaining the integrity of elections. But the Court also finds that any

additional procedures impose a minimal burden on Defendants, because they already

have an extended deadline for Uniformed Overseas Citizens Absentee Voting Act

voters. 32

       In light of the foregoing, the Court finds that Plaintiffs have established a

substantial likelihood of success on the merits of their procedural due process claim

regarding O.C.G.A. 21-2-386(a)(1)(F), the Receipt Deadline.




31
   Indeed, even the United States Postal Service “recommends that voters mail their marked return
ballots at least 1 week before the due date to account for any unforeseen events or weather
issue[s,]” acknowledging the potential for delay even under non-exigent circumstances. [See Doc.
59-1 at 18].
32
   The Georgia law addressing the receipt deadline for overseas citizens reads as follows:

       [A]bsentee ballots cast in a primary, election, or runoff by eligible absentee electors
       who reside outside the county or municipality in which the primary, election, or
       runoff is held and are members of the armed forces of the United States, members
       of the merchant marine of the United States, spouses or dependents of members of
       the armed forces or merchant marine residing with or accompanying such members,
       or overseas citizens that are postmarked by the date of such primary, election, or
       runoff and are received within the three-day period following such primary,
       election, or runoff, if proper in all other respects, shall be valid ballots and shall be
       counted and included in the certified election results.

O.C.G.A. § 21-2-386(a)(1)(G).

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             vi.    Summary

      In sum, the Court finds that Plaintiffs have not demonstrated that they are

likely to succeed on the merits of their claims regarding O.C.G.A. § 21-2-381(b)(4),

the Notification Process; O.C.G.A. § 21-2-381(a)(1)(G), the Absentee Age

Restriction; the Absentee Postage Tax; or O.C.G.A. § 21-2-385(a), the Voter

Assistance Ban. However, the Court finds that Plaintiffs have demonstrated they are

likely to succeed on the merits of their claims regarding O.C.G.A. § 21-2-

386(a)(1)(F), the Receipt Deadline. Having made this determination, the Court

discusses the remaining preliminary injunction factors in light of the relief requested

related to the Receipt Deadline. Again, Plaintiffs must satisfy all four (4) factors in

order to be entitled to injunctive relief. Siegel, 234 F.3d at 1176.

      C.     Irreparable Injury

      The Court turns to its assessment of the second element of the preliminary

injunction standard: irreparable harm. Id. It is well-settled that an infringement on

the fundamental right to vote amounts in an irreparable injury. See Elrod v. Burns,

427 U.S. 347, 373 (1976) (plurality opinion) (The “loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.”). Thus, when a plaintiff has alleged her fundamental right to vote has been

infringed, irreparable injury is generally presumed. See id.; Martin, 341 F. Supp. 3d

at 1340 (“The Court finds that [p]laintiffs have established irreparable injury as a


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violation of the right to vote cannot be undone through monetary relief and, once the

election results are tallied, the rejected electors will have been disenfranchised

without a future opportunity to cast their votes.”); see also League of Women Voters

v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014) (“Courts routinely deem

restrictions on fundamental voting rights irreparable injury . . . [because] once the

election occurs, there can be no do-over and no redress. The injury to these voters

is real and completely irreparable if nothing is done to enjoin the law.”).

      In light of the constitutional rights at stake, as well as the Court’s

determination regarding Plaintiffs’ likelihood of success on the merits with regards

to the Receipt Deadline, the undersigned finds that Plaintiffs will suffer irreparable

harm absent an injunction. Thus, the Court finds Plaintiffs satisfy the second

element necessary to obtain a preliminary injunction.

      D.     Balance of the Harms and Public Interest

      The remaining two (2) factors of the four-part preliminary injunction test,

“harm to the opposing party and weighing the public interest[,] . . . merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). The

Court must consider each factor in view of Plaintiffs’ proposed relief.

      Here, the Court finds Plaintiffs satisfy both factors. First, the balance of the

harms weighs in Plaintiffs’ favor. Plaintiffs will be forever harmed if they are

unconstitutionally deprived of their right to vote. See Martin, 341 F. Supp. 3d at


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1340. Defendants, on the other hand, argue that changing the deadline this close to

the election will be burdensome on election officials, disrupt the State’s statutory

scheme for certifying elections, and undermine the integrity of the election process.

[Docs. 90 at 20-22; 91 at 23–25]. As an initial response to Defendants’ arguments,

as Judge May stated in Martin, this Court “does not understand how assuring that all

eligible voters are permitted to vote undermines [the] integrity of the election

process. To the contrary, it strengthens it.” Martin, 341 F. Supp. 3d at 1340.

Additionally, extending the deadline would only impose a minimal burden on

Defendants because the State already has an extended absentee ballot receipt

deadline for Uniformed Overseas Citizens Absentee Voting Act voters. See id. at

1339–40 (“Because many of the procedures Plaintiffs request are already in place,

the Court finds that additional procedures would involve minimal administrative

burdens while still furthering the State’s asserted interest in maintaining the integrity

of its elections.”). As for any delay in certification, the Court notes that the burden

on voters outweighs the State’s interest. See Doe, 746 F. Supp. 2d at 678–80 (finding

that Maryland’s statutory deadline for the receipt of absentee ballots imposed a

severe burden on the absent uniformed services and overseas voters that was not

justified by the state’s interest in certifying election results).

       Second, the public will be served by this injunction. Georgia voters have an

interest in ensuring their votes are counted. Jones v. Governor of Fla., 950 F.3d 795,


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831 (11th Cir. 2020) (“The public, of course, has every interest in ensuring that their

peers who are eligible to vote are able to do so in every election.”); Husted, 697 F.3d

at 437 (“The public interest therefore favors permitting as many qualified voters to

vote as possible.”); see also Madera v. Detzner, 325 F. Supp. 3d 1269, 1283

(N.D. Fla. 2018) (“The public interest is always served by more equitable, easier

access to the ballot.”).

       Accordingly, Plaintiffs have carried their burden as to each of the four (4)

preliminary injunction factors as they relate to the Receipt Deadline. See KH

Outdoor, 458 F.3d at 1283. Thus, the Court turns now to its remedy. 33

IV.    Remedy

       “Crafting a preliminary injunction is an exercise of discretion and judgment,

often dependent as much on the equities of a given case as the substance of the legal

issues it presents.” Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087

(2017) (per curiam). In formulating the appropriate remedy, “a court need not grant

the total relief sought by the applicant but may mold its decree to meet the exigencies

of the particular case.” Id. (citation omitted).


33
  Federal Rule of Civil Procedure 65(c) provides that a “court may issue a preliminary injunction
or a temporary restraining order only if the movant gives security in an amount that the court
considers proper to pay the costs and damages sustained by any party found to have been
wrongfully enjoined or restrained.” FED. R. CIV. P. 65(c). While Plaintiffs do mention the bond
requirement, the Court, in its discretion, waives it. See BellSouth Telecoms., Inc. v. MCIMetro
Access Transmission Serv., LLC, 425 F.3d 964, 971 (11th Cir. 2005) (“[I]t is well-established that
the amount of security required by [Rule 65(c)] is a matter within the discretion of the trial court,
and the court may elect to require no security at all.”) (internal citation and punctuation omitted).

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      Here, Plaintiffs request the Court extend the absentee ballot receipt deadline

by five (5) business days. [Doc. 57-1]. However, the Court declines to grant

Plaintiffs’ specific request and instead directs that Defendants accept as otherwise

valid, absentee ballots from qualified voters that are postmarked by Election Day

and arrive at their respective county’s office within three (3) business days after

Election Day.

      In crafting this remedy, the Court by no means discounts the challenges

absentee voters face amid the COVID-19 pandemic. However, the Court must

balance these difficulties with the need to honor the State’s legitimate interest in

certifying the election. Accordingly, the Court finds that extending the receipt

deadline by three (3) business days balances the interests of all Parties. Thus, the

Court directs Defendants to accept otherwise valid absentee ballots from qualified

voters that are postmarked by Election Day and arrive at their respective county’s

office within three (3) business days after Election Day. In other words, valid

absentee ballots postmarked on or before November 3, 2020, must be counted if

received by 7:00 p.m. on November 6, 2020.

      The Court notes it is reluctant to interfere with Georgia’s statutory election

machinery. However, where the risk of disenfranchisement is great, as is the case

here, narrowly tailored injunctive relief is appropriate. Consequently, the Court

finds that extending the absentee ballot receipt deadline by three (3) business days


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is appropriate. The Court emphasizes that the equitable relief it provides is limited

to the November 2020 election during these extraordinary times.

V.    Conclusion

      Accordingly, the Court GRANTS IN PART AND DENIES IN PART

Plaintiffs’ Motion for Preliminary Injunction. [Doc. 57]. Specifically, the Court

denies Plaintiffs’ request to enjoin Defendants from implementing or enforcing

O.C.G.A. § 21-2-381(b)(4); O.C.G.A. § 21-2-381(a)(1)(G); the Absentee Postage

requirement; and O.C.G.A. § 21-2-385(a). However, the Court grants Plaintiffs’

request to enjoin Defendants from enforcing O.C.G.A. § 21-2-386(a)(1)(F) and

EXTENDS the receipt deadline for absentee ballots as detailed below.

      The Court PRELIMINARY ENJOINS Defendants, their officers,

employees, and agents, all persons acting in active concert or participation with

Defendants, or under Defendants’ supervision, direction, or control from enforcing

O.C.G.A. § 21-2-386(a)(1)(F), which requires absentee ballots to be received by

7:00 p.m. on Election Day to be counted. The Court ORDERS that Defendants,

their officers, employees, and agents, all persons acting in active concert or

participation with Defendants, or under Defendants’ supervision, direction, or

control shall accept and count otherwise valid absentee ballots from qualified voters




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that are postmarked by Election Day, and arrive at their respective county’s office

within three (3) business days of Election Day by 7:00 p.m. 34

       SO ORDERED, this 31st day of August, 2020.



                                                    ______________________
                                                    Eleanor L. Ross
                                                    United States District Judge
                                                    Northern District of Georgia




34
   The term “postmark” as used herein refers to any type of imprint applied by the postal service
to indicate the location and date the postal service accepts custody of a piece of mail, including
bar codes, circular stamps, or other tracking marks.

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